             Case 24-17435-ABA                     Doc 1     Filed 07/26/24 Entered 07/26/24 17:21:21                         Desc Main
                                                             Document Page 1 of 77
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District of New JerseyDistrict of _________________
                                         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                              Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               6/24

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Patricia
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          H
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Krzywonos
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                        Patti Krzywonos
2.    All other names you
                                        Patti H Krzywonos
      have used in the last 8
      years
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                           5    0    6    3
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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Debtor 1        _______________________________________________________                                Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                      _________________________________________________                      _________________________________________________
      Identification Number           EIN                                                                    EIN
      (EIN), if any.
                                      _________________________________________________                      _________________________________________________

                                      EIN                                                                    EIN

                                      _________________________________________________                      _________________________________________________

                                      EIN                                                                    EIN

                                      _________________________________________________                      _________________________________________________

                                      EIN                                                                    EIN




5.   Where you live                                                                                         If Debtor 2 lives at a different address:


                                           701 West Red Bank Avenue                                         _________________________________________________
                                           _________________________________________________
                                           Number     Street                                                Number     Street


                                           Apartment #H12                                                   _________________________________________________
                                           _________________________________________________

                                           West Deptford                        NJ        08096-4942
                                                                                                            _________________________________________________
                                           _________________________________________________
                                           City                            State   ZIP Code                 City                            State   ZIP Code

                                           Gloucester County                                                _________________________________________________
                                           _________________________________________________
                                           County                                                           County


                                           If your mailing address is different from the one                If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send            yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                      any notices to this mailing address.


                                           _________________________________________________                _________________________________________________
                                           Number     Street                                                Number     Street

                                           _________________________________________________                _________________________________________________
                                           P.O. Box                                                         P.O. Box

                                           _________________________________________________                _________________________________________________
                                           City                            State   ZIP Code                 City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                       Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I           Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other             have lived in this district longer than in any other
                                              district.                                                        district.

                                            I have another reason. Explain.                                 I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                          (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 2
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 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            
                                            ✔
                                              Chapter 7
                                             Chapter 11
                                             Chapter 12
                                             Chapter 13

 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for    
                            ✔ No
      bankruptcy within the
      last 8 years?          Yes.             District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                         No. Go to line 12.
      residence?                            
                                            ✔ Yes. Has your landlord obtained an eviction judgment against you?



                                                      
                                                      ✔ No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1      _______________________________________________________                             Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor              
                                           ✔ No. Go to Part 4.
    of any full- or part-time
    business?                               Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                     _______________________________________________________________________________________
                                                   Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                 _______________________________________________________________________________________
                                                   Number    Street
    LLC.
    If you have more than one
                                                   _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                              _______________________________________________         _______     __________________________
                                                    City                                                   State       ZIP Code


                                                   Check the appropriate box to describe your business:
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    None of the above
                                           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
13. Are you filing                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
under Chapter 11 of                        most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
the Bankruptcy Code,                       if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
and are you a small
business debtor?                           
                                           ✔ No. I am not filing under Chapter 11.
For a definition of small
business debtor, see                        No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D).                              the Bankruptcy Code.
                                            Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                   Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                            Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in
                                              the Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                 
                                           ✔ No
    property that poses or is
    alleged to pose a threat                Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                     If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                     Where is the property?




   Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                  duty in a military combat zone.                                   duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                                    No. Go to line 16b.
                                                   
                                                   ✔ Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17. Are you filing under
    Chapter 7?                                 No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                        No
                                       ✔
    administrative expenses
    are paid that funds will be         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                     
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                      50-99                                     5,001-10,000                           50,001-100,000
    owe?                                       100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19. How much do you                           
                                              ✔ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                           
                                              ✔ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    to be?                                     $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Patricia H Krzywonos
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    07/26/2024
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Theodore M. Liddell                                           Date          _________________
                                                                                                                                07/26/2024
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Theodore M. Liddell
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Law Office of Theodore M. Liddell L.L.C.
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 113 West White Horse Road
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Suite #2
                                                _________________________________________________________________________________________________

                                                 Voorhees                                                        NJ            08043
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 856-617-3000
                                                              ______________________________         Email address
                                                                                                                     attorneyteddy@gmail.com
                                                                                                                     _________________________________________



                                                 044402013                                                       NJ
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Patricia H Krzywonos
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of New Jersey District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 26,233.39
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 26,233.39
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 0.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 395.34
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 46,053.72
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 46,449.06
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 2,553.57
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 3,232.67
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        3,250.88
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                         395.34
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                                   395.34
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
             Case 24-17435-ABA                                   Doc 1            Filed 07/26/24 Entered 07/26/24 17:21:21                                                                  Desc Main
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Fill in this information to identify your case and this filing:

                    Patricia H Krzywonos
Debtor 1
                    First Name                Middle Name                 Last Name

Debtor 2
(Spouse, if filing)   First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: District of New
Jersey
                                                                                                                                                                                                          Check if this is
Case number                                                                                                                                                                                               an amended
(if know)
                                                                                                                                                                                                          filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                               12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
   3.1 Make:Jeep                                                                 Who has an interest in the property? Check
                                                                                                                                                               Do not deduct secured claims or exemptions. Put the
                                                                                 one
            Model:Liberty                                                                                                                                      amount of any secured claims onSchedule D:
                                                                                      Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2008
                                                                                      Debtor 2 only
            Approximate mileage: 110,960                                                                                                                         Current value of the Current value of the
                                                                                      Debtor 1 and Debtor 2 only                                                 entire property?     portion you own?
               Other information:
                                                                                      At least one of the debtors and another                                    $ 1,521.00                            $ 1,521.00
              Condition:Poor; Color: Black VIN
              #: 1J8GN 28K68 W2309 53 Four                                           Check if this is community property (see
              (4)-Door. Car was damaged, but                                     instructions)
              has been fixed.

 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 1,521.00


Part 3:        Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                 portion you own?




                                                                                                                                                                                                                    page 1 of 6
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  6. Household goods and furnishings                                                                                                          Do not deduct secured
                                                                                                                                              claims or exemptions.
       Examples: Major appliances, furniture, linens, china, kitchenware
             No
             Yes. Describe...

           1 three-person couch (4 years old, $75); 1 broken queen size bed and 1 twin size bed (over 30 years old, $100 for both); 1
           six-drawer dresser (20 years old, $50), 1 five-drawer dresser, 20 years old, $20); 3 dining room chairs falling apart (30 years
           old, $5 each); 1 corner cushion chair in bedroom (30 years old, $25); 1 dining room table falling apart (30 years old, $10),
           towels, pots, pans, silverware, 4 concert posters in frames (plastic frames, 10 years old, $8 each); 1 bookcase (15 years,         $ 825.00
           used, $5); Grandmother clock - Daneker Williamsburg Model Westminster Cherry Case - that is currently in disrepair as the
           pendulum attachment has snapped. It was made by Daneker in 1971 (original cost - $450, inherited by Debtor in 2003). The
           same clock with the same age in "used" condition is currently selling on eBay for $100 or best offer).
  7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

             No
             Yes. Describe...

           1 Laptop (2018 Lenovo-$150), 1 Television (6 years old, Roku, 40 inch, small flat screen-$500), microwave (20 years old,
           purchased from yard sale, $30), 1 toaster (8 years old, $10), 1 iron (30 years old, $5); 3 desk lamps (2017, $25 each),
                                                                                                                                              $ 1,300.00
           Samsung Galaxy Android A54 5G 128GB (purchased in November 8, 2023 for about $450, but Debtor is still paying for it on
           phone plan); 1 vacuum cleaner (3 years old; $75); NutraBullet blender (10 years old; $20).
  8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

             No
             Yes. Describe...
  9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...
  10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...
  11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

           All clothing is used. Shoes (all shoes, sneakers and boots - Nike, Adidas, Timberlands - are at least 8 years old or older),
           basic/retail store clothing for work and leisure. All no name brand items. Winter parka (2 years old, paid a little under $200);
                                                                                                                                              $ 3,000.00
           baseball caps (2 years old; $15 each); no name brand purses (total 5 purses, 2 leather purses - 3 to 10 years old/$25 each,
           1 black cross-body bag purse - about 6 months old received as Christmas gift, $50). Hoodies, work pants, t-shirts, etc.
  12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                 gold, silver

             No
             Yes. Describe...

           No gold, no diamonds, 2 silver necklaces, only costume jewelry, 2 silver hoop earrings, 5 silver rings, and several plastic
           bracelets.
                                                                                                                                              $ 75.00


  13. Non-farm animals
       Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

                                                                                                                                                           page 2 of 6
             Case 24-17435-ABA                                       Doc 1              Filed 07/26/24 Entered 07/26/24 17:21:21 Desc Main
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                First Name            Middle Name           Last Name
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 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤           $ 5,200.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $ 29.00
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Police and Fire Federal Credit Union Checking Account                                                                            $ 677.98

        17.2. Savings account:                                      Police and Fire Federal Credit Union Savings Account                                                                             $ 3.12

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
        Institution or issuer name:
        Robinhood Securities, LLC; Address: 85 Willow Road, Menlo Park, CA 94025; Phone: 650-940-2700.                                                                                              $ 89.30
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately
        Type of account                         Institution name
        401(k) or similar plan:                 Supermarkets of Cherry Hill, Inc. Profit Sharing 401(k) Plan; as April 1, 2024 - June 30, 2024; Address: 2240                                       $ 2,522.89
                                                Marlton Pike, Cherry Hill, NJ 08002; Phone: 856-667-9410.
  22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                  companies, or others

             No
             Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No
             Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
        program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
             Yes......................


                                                                                                                                                                                                                 page 3 of 6
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               First Name     Middle Name    Last Name
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  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
             No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                   Federal:               $ 0.00
                                                                                                                   State:                 $ 0.00
                                                                                                                   Local:                 $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....

           Debtor has received and continues to receive New Jersey Food Stamp Program - Supplemental               Alimony:               $ 0.00
           Nutrition Assistance Program (SNAP) Benefits                                                            Maintenance:           $ 671.00
                                                                                                                   Support:               $ 0.00
                                                                                                                   Divorce settlement:    $ 0.00
                                                                                                                   Property settlement:   $ 0.00
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
       off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...




                                                                                                                                                       page 4 of 6
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                First Name          Middle Name          Last Name
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           Debtor has received and continues to receive New Jersey Universal Service Fund Electric Bill (PSEG) Benefits, Debtor has
           received New Jersey Unemployment Compensation from the Department of Labor & Workforce Development Office -
           Division of Unemployment Insurance Office. Debtor received Unemployment Benefit payments from January 23, 2024 to
                                                                                                                                                                                                     $ 12,505.04
           June 27, 2024 (total amount was $12,286; average monthly amount for past 6 months is $2,047.67). Debtor will no longer
           receive New Jersey Unemployment Benefit payments as they were terminated as of June 27, 2024 (last deposit). This
           exemption covers this amount already received by the Debtor.

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤         $ 16,498.33


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:        If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

             No
             Yes. Give specific
            information...

           Debtor sold some of her gold jewelry and estimates that she received about $800 to $900 in cash. Debtor acted in her own
           best interest in arm's length transactions to sell these pieces at the "We Buy Gold" store and "True Cash Value" store in
           Westville, NJ, "Perfect Jewelry" store at the Berlin Market, another store near Brooklawn Circle, and other locations for the
           sole purpose of getting cash to buy necessities to live on - primarily food to eat and gas for her car. During the period from
           December 10, 2023 to July 13, 2023, Debtor had no employment income. Description of the jewelry that was sold includes
           the following: approximately 8 gold necklaces, 8 gold pendants, approximately 7 gold rings, approximately 10 pair of gold
           earrings (some in pairs and some missing pieces), and approximately 5 gold bracelets. Debtor has no receipts for these
           transactions. To the best of Debtor's knowledge, Debtor has been selling her jewelry for the past year and a half at different
           times with dates ranging from October 2022 through February 2024. These sales were conducted under extreme economic
           stress and financial struggle. NJ SNAP did not begin to pay Debtor until December 19, 2023 and NJ Unemployment did not
           begin to pay Debtor until January 23, 2024., During the period from December 10, 2023 to July 13, 2024, Debtor had no
           Employment income. Since both Debtor and her son are signatories on the apartment lease, both were already obligated to
           pay their apartment rent. Debtor pays the apartment rent herself, but due to Debtor being out of work as of December 10,
           2023, Debtor's adult son (household member) helped out with paying their apartment rent (see January 2, 2024 in Police and
           Fire Federal Credit Union Checking Account) and other necessities to avoid being late and potentially being evicted. There
           was no intent to provide any creditors with an unfair advantage. Debtor's son was already legally obligated to ensure
           payment of the apartment rent. There was no expectation to be paid back by Debtor or Debtor's son, and neither considered
           Debtor's son's payments to be a loan. Although Debtor's son was also responsible for paying the apartment rent, Debtor
           wanted to return the favor. After Debtor provided these payments to her son, he still continued to help Debtor to pay
           household necessities afterwards. Debtor paid her adult son back in cash in the total amount of $1,250.00 in six (6) different
           payments listed in the following: $500 - Sept 1st, 2023, $100 - July 5th, 2023, $500 - Feb 3rd, 2024, $25 - Feb 16th, 2024,
           $70 - Mar 2nd, 2024, $55 - Apr 2nd, 2024. See Insider Payments., Debtor, through a Debt Settlement law firm, Gitmeid Law,
           paid two (2) creditors a grand total of $864.06 ($378.06 for FB&T/Mercury Credit Card and $486.00 for Best Egg Personal
           Loan). None of these creditors were insiders, and none received $600 or more. See Unsecured Nonpriority Claims.
 54. Add the dollar value of all of your entries from Part 7. Write that number here                                           ................................................➤
                                                                                                                                                                                                                   $ 3,014.06




                                                                                                                                                                                                                   page 5 of 6
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 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                            $ 0.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 1,521.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 5,200.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 16,498.33
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 3,014.06
  62. Total personal property. Add lines 56 through 61 ...................                                                     $ 26,233.39                       Copy personal property total➤   +$
                                                                                                                                                                                                      26,233.39
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                               $ 26,233.39




                                                                                                                                                                                                           page 6 of 6
               Case 24-17435-ABA                Doc 1        Filed 07/26/24 Entered 07/26/24 17:21:21                                     Desc Main
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 Fill in this information to identify your case:

                     Patricia H Krzywonos
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of New Jersey District of __________
                                                                                  (State)
 Case number
  (If known)
                     ___________________________________________                                                                                Check if this is an
                                                                                                                                                   amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                         4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
     
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                         exemption you claim

                                                          Copy the value from                     Check only one box
                                                          Schedule A/B                            for each exemption
                 2008 Jeep Liberty                                                                                               11 USC § 522(d)(5)
 Brief
 description:
                                                                  1,521.00
                                                                 $________________             1,475.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
 Line from                                                                                      any applicable statutory limit
 Schedule A/B:        3.1
                 2008 Jeep Liberty                                                                                               11 USC § 522(d)(2)
 Brief
 description:
                                                                   1,521.00
                                                                 $________________             4,450.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
 Line from                                                                                      any applicable statutory limit
 Schedule A/B:         3.1
                 2008 Jeep Liberty                                                                                               11 U.S.C. § 522 (d)(5)
 Brief
 description:
                                                                   1,521.00
                                                                 $________________             3,575.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
 Line from                                                                                      any applicable statutory limit
 Schedule A/B:           3.1

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                              3
                                                                                                                                                          page 1 of __
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               _______________________________________________________
                                                                         77 number (if known)_____________________________________
                First Name       Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                      Amount of the                        Specific laws that allow exemption
                                                                             Current value of the   exemption you claim
         on Schedule A/B that lists this property                            portion you own
                                                                            Copy the value from    Check only one box
                                                                             Schedule A/B           for each exemption
               Household Goods - 1 three-person couch (4 years old,                                                                       11 USC § 522(d)(3)
Brief        $75); 1 broken queen size bed and 1 twin size bed (over
description: 30 years old, $100 for both); 1 six-drawer dresser (20
                                                                      825.00
                                                                     $________________                 14,875.00
                                                                                                    ✔ $ ____________
               years old, $50), 1 five-drawer dresser, 20 years old, $20);                           100% of fair market value, up to
Line from 3 dining room chairs falling apart (30 years old, $5 each);                                   any applicable statutory limit
Schedule A/B:     6
               Electronics - 1 Laptop (2018 Lenovo-$150), 1 Television                                                                    11 U.S.C. § 522 (d)(5)
Brief        (6 years old, Roku, 40 inch, small flat screen-$500),
description: microwave (20 years old, purchased from yard sale,              $________________
                                                                              1,300.00              
                                                                                                    ✔ $ ____________
                                                                                                        3,000.00
               $30), 1 toaster (8 years old, $10), 1 iron (30 years old,                             100% of fair market value, up to
                                                                                                        any applicable statutory limit
Line from $5); 3 desk lamps (2017, $25 each), Samsung Galaxy
           Android7A54 5G 128GB (purchased in November 8, 2023
Schedule A/B:
               Clothing - All clothing is used. Shoes (all shoes,                                                                         11 USC § 522(d)(3)
Brief        sneakers and boots - Nike, Adidas, Timberlands - are at
description: least 8 years old or older), basic/retail store clothing for $________________
                                                                           3,000.00                 
                                                                                                    ✔ $ ____________
                                                                                                        14,875.00
               work and leisure. All no name brand items. Winter parka                               100% of fair market value, up to
Line from (2 years old, paid a little under $200); baseball caps (2                                     any applicable statutory limit
           years old;
                  11 $15 each); no name brand purses (total 5
Schedule A/B:
               Jewelry - No gold, no diamonds, 2 silver necklaces, only                                                                   11 USC § 522(d)(4)
Brief        costume jewelry, 2 silver hoop earrings, 5 silver rings,
description: and several plastic bracelets.
                                                                              75.00
                                                                             $________________         1,875.00
                                                                                                    ✔ $ ____________

                                                                                                     100% of fair market value, up to
Line from                                                                                               any applicable statutory limit
Schedule A/B:         12
               Cash in Debtor's purse. (Cash on Hand)                                                                                     11 U.S.C. § 522 (d)(5)
Brief
description:
                                                                              29.00
                                                                             $________________         400.00
                                                                                                    ✔ $ ____________

                                                                                                     100% of fair market value, up to
Line from                                                                                               any applicable statutory limit
Schedule A/B:          16
               Police and Fire Federal Credit Union Checking Account                                                                      11 U.S.C. § 522 (d)(5)
Brief
description:
               (Checking Account)                                             677.98
                                                                             $________________         3,275.00
                                                                                                    ✔ $ ____________

                                                                                                     100% of fair market value, up to
Line from                                                                                               any applicable statutory limit
Schedule A/B:          17.1
               Police and Fire Federal Credit Union Savings Account                                                                       11 U.S.C. § 522 (d)(5)
Brief          (Savings Account)
description:
                                                                              3.12
                                                                             $________________         500.00
                                                                                                    ✔ $ ____________

                                                                                                     100% of fair market value, up to
Line from                                                                                               any applicable statutory limit
Schedule A/B:         17.2
               Robinhood Securities, LLC; Address: 85 Willow Road,                                                                        11 U.S.C. § 522 (d)(5)
Brief          Menlo Park, CA 94025; Phone: 650-940-2700.
description:
                                                                              89.30
                                                                             $________________         150.00
                                                                                                    ✔ $ ____________

                                                                                                     100% of fair market value, up to
                                                                                                        any applicable statutory limit
Line from
Schedule A/B:       18
             Supermarkets of Cherry Hill, Inc. Profit Sharing 401(k)                                                                      11 USC § 522(d)(12)
Brief        Plan; as April 1, 2024 - June 30, 2024; Address: 2240
description: Marlton Pike, Cherry Hill, NJ 08002; Phone:
                                                                              2,522.89
                                                                             $________________       $ ____________
                                                                                                    ✔   5,000.00
             856-667-9410.                                                                           100% of fair market value, up to
Line from                                                                                               any applicable statutory limit
Schedule A/B:       21
             Debtor has received and continues to receive New                                                                             11 USC § 522(d)(10)(a)
Brief        Jersey Food Stamp Program - Supplemental Nutrition               671.00
description: Assistance Program (SNAP) Benefits (owed to debtor)             $________________       $ ____________
                                                                                                    ✔   1,500.00
                                                                                                     100% of fair market value, up to
Line from                                                                                               any applicable statutory limit
Schedule A/B:       29
             Debtor has received and continues to receive New                                                                             11 USC § 522(d)(10)(a)
Brief        Jersey Universal Service Fund Electric Bill (PSEG)
description: Benefits (owed to debtor)
                                                                              219.04
                                                                             $________________         750.00
                                                                                                    ✔ $ ____________
                                                                                                     100% of fair market value, up to
                                                                                                        any applicable statutory limit
Line from
Schedule A/B:         35
               Debtor has received New Jersey Unemployment                                                                                11 USC § 522(d)(10)(a)
Brief        Compensation from the Department of Labor &
description: Workforce Development Office - Division of
                                                                              12,286.00
                                                                             $________________         15,000.00
                                                                                                    ✔ $ ____________

               Unemployment Insurance Office. Debtor received                                        100% of fair market value, up to
Line from Unemployment Benefit payments from January 23, 2024                                           any applicable statutory limit
           to June 35
Schedule A/B:      27, 2024 (total amount was $12,286; average


 Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                         2   3
                                                                                                                                                           page ___ of __
             Case 24-17435-ABA Doc 1 Filed 07/26/24 Entered 07/26/24 17:21:21 Desc Main
Debtor          Patricia H Krzywonos                 Document Page 18 of Case
               _______________________________________________________
                                                                         77 number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                    Amount of the                       Specific laws that allow exemption
                                                                           Current value of the   exemption you claim
         on Schedule A/B that lists this property                          portion you own
                                                                          Copy the value from    Check only one box
                                                                           Schedule A/B           for each exemption
               Debtor sold some of her gold jewelry and estimates that                                                                 11 U.S.C. § 522 (d)(5)
Brief        she received about $800 to $900 in cash. Debtor acted
description: in her own best interest in arm's length transactions to
                                                                            900.00
                                                                           $________________         900.00
                                                                                                  ✔ $ ____________
               sell these pieces at the "We Buy Gold" store and "True                              100% of fair market value, up to
Line from Cash Value" store in Westville, NJ, "Perfect Jewelry"                                      any applicable statutory limit
Schedule A/B:   53
               During the period from December 10, 2023 to July 13,                                                                    11 U.S.C. § 522 (d)(5)
Brief        2024, Debtor had no Employment income. Since both
description: Debtor and her son are signatories on the apartment           $________________
                                                                            1,250.00              
                                                                                                  ✔ $ ____________
                                                                                                      1,250.00
               lease, both were already obligated to pay their apartment                           100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from rent. Debtor pays the apartment rent herself, but due to
           Debtor being
                  53    out of work as of December 10, 2023,
Schedule A/B:
               Debtor, through a Debt Settlement law firm, Gitmeid Law,                                                                11 U.S.C. § 522 (d)(5)
Brief        paid two (2) creditors a grand total of $864.06 ($378.06
description: for FB&T/Mercury Credit Card and $486.00 for Best Egg $________________
                                                                      864.06                      
                                                                                                  ✔ $ ____________
                                                                                                      900.00
               Personal Loan). None of these creditors were insiders,                              100% of fair market value, up to
Line from and none received $600 or more. See Unsecured                                              any applicable statutory limit
           Nonpriority
                  53 Claims. (Not Yet Listed)
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                               $________________       $ ____________
                                                                                                   100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                         3   3
                                                                                                                                                        page ___ of __
             Case 24-17435-ABA                            Doc 1      Filed 07/26/24 Entered 07/26/24 17:21:21                            Desc Main
                                                                    Document Page 19 of 77
  Fill in this information to identify your case:

  Debtor 1           Patricia H Krzywonos
                     First Name                             Last Name
                                     Middle Name

  Debtor 2
  (Spouse, if filing) First Name            Middle Name
                                                                 Last Name



  United States Bankruptcy Court for the: District of New Jersey

  Case number                                                                                                                                      Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:     List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
      Add the dollar value of your entries in Column A on this page. Write that number here:                      $ 0.00


  Part 2:     List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                           Schedule D: Creditors Who Have Claims Secured by Property                                    page 1 of 1
                Case 24-17435-ABA                             Doc 1     Filed 07/26/24 Entered 07/26/24 17:21:21                                   Desc Main
                                                                       Document Page 20 of 77
   Fill in this information to identify your case:

                   Patricia H Krzywonos
   Debtor 1
                   First Name                                   Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name
                                                                      Last Name



   United States Bankruptcy Court for the: District of New Jersey

   Case number                                                                                                                                               Check if this is
   (if know)                                                                                                                                                 an amended
                                                                                                                                                             filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                    Total claim   Priority      Nonpriority
                                                                                                                                                  amount        amount
  2.1                                                                       Last 4 digits of account number 5063
         Department of Treasury, Internal Revenue                                                                                   $ 395.34      $ 395.34      $ 0.00
         Priority Creditor's Name
                                                                            When was the debt incurred? About 3 months

         Service                                                            As of the date you file, the claim is: Check all
                                                                            that apply.
         P.O. Box 742562                                                       Contingent
         Number                                                                Unliquidated
                       Street
         Cincinnati OH          45280-2562                                     Disputed
         City           State   ZIP Code
         Who owes the debt? Check one.                                      Type of PRIORITY unsecured claim:
             Debtor 1 only                                                     Domestic support obligations
             Debtor 2 only                                                     Taxes and certain other debts you owe the
                                                                               government
             Debtor 1 and Debtor 2 only                                        Claims for death or personal injury while you were
             At least one of the debtors and another                           intoxicated
             Check if this claim relates to a community                       Other. Specify
             debt
         Is the claim subject to offset?
             No
             Yes
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                Total claim




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 18
                  Patricia H Krzywonos
 Debtor          Case
                 First Name24-17435-ABA
                                      Middle Name    Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                          17:21:21         Desc Main
                                                                                                              number(if known)

                                                                         Document Page 21 of 77

  4.1                                                                    Last 4 digits of account number 5856379552411839
          ADS/Comenity Bank/Hottopic                                                                                                        $ 855.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 11/20/2017

          PO Box 182789                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Columbus OH                 43218-2789                            Unliquidated
          City            State       ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.2                                                                    Last 4 digits of account number 44215896
          Best Egg                                                                                                                         $ 4,657.43
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 10/21/2021

          1523 Concord Pike                                              As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Suite 201                                                         Unliquidated
                                                                            Disputed
          Wilmington DE               19803
          City                State   ZIP Code
                                                                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                    Last 4 digits of account number 5178058422914070
          Capital One - Platinum Mastercard                                                                                                 $ 690.45
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 04/08/2016

          PO Box 31293                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Salt Lake City UT               84131                             Unliquidated
          City                   State    ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                      page 2 of 18
                  Patricia H Krzywonos
 Debtor          Case
                 First Name24-17435-ABA
                                      Middle Name    Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                          17:21:21         Desc Main
                                                                                                              number(if known)

                                                                         Document Page 22 of 77
  4.4                                                                    Last 4 digits of account number 5156767786021142
          Capital One - Quicksilver                                                                                                        $ 1,249.56
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 05/03/2017

          PO Box 31293                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Salt Lake City UT               84131                             Unliquidated
          City                   State    ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.5                                                                    Last 4 digits of account number 5424181550070119
          CitiCards CBNA/Citibank                                                                                                          $ 2,579.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 06/16/2022

          5800 South Corporate Place                                     As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Mail Code 234                                                     Unliquidated
                                                                            Disputed
          Sioux Falls SD              57108
          City                State   ZIP Code
                                                                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                    Last 4 digits of account number 5442671174732381
          Comenity Capital Bank/CosmoProf                                                                                                  $ 1,298.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 12/17/2020

          3075 Loyalty Circle                                            As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          PO Box 182789                                                     Unliquidated
                                                                            Disputed
          Columbus OH                 43218-2789
          City            State       ZIP Code
                                                                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                      page 3 of 18
                  Patricia H Krzywonos
 Debtor          Case
                 First Name24-17435-ABA
                                      Middle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                         17:21:21         Desc Main
                                                                                                             number(if known)

                                                                        Document Page 23 of 77
  4.7                                                                   Last 4 digits of account number 5230810021257061
          FB&T/Mercury Card Services                                                                                                      $ 2,675.71
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 03/23/2022

          700 22nd Avenue South                                         As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Brookings SD                57006                                Unliquidated
          City            State       ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.8                                                                   Last 4 digits of account number 1322
          Kingston Family Dentistry                                                                                                        $ 125.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 12/31/2023

          310 Kresson Road                                              As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Cherry Hill NJ              08034                                Unliquidated
          City                State   ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.9                                                                   Last 4 digits of account number 6393050830526026
          Kohl's/Capital One/AvanteUSA Ltd.                                                                                               $ 1,724.91
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 04/19/2016

          PO Box 3115                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          Milwaukee WI                53201                                Unliquidated
          City                State   ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                      page 4 of 18
                  Patricia H Krzywonos
 Debtor          Case
                 First Name24-17435-ABA
                                      Middle Name    Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                          17:21:21         Desc Main
                                                                                                              number(if known)

                                                                         Document Page 24 of 77
  4.10 Merrick Bank Corp                                                 Last 4 digits of account number 5463166913828925
                                                                                                                                             $ 714.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 06/22/2023

          10705 S. Jordan Gateway                                        As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          South Jordan UT                 84095                             Unliquidated
          City                   State    ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.11 New Jersey Department of Labor                                    Last 4 digits of account number 5063
                                                                                                                                             $ 994.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 12/10/2023

          Unemployment Insurance Office                                  As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
          P.O. Box 998                                                      Unliquidated
          Number
                        Street                                              Disputed
          Pleasantville NJ               08232-0998
          City                State      ZIP Code
                                                                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                     Student loans
              Debtor 1 only                                                  Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
              Debtor 2 only
                                                                             Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                     debts
              At least one of the debtors and another                        Other. Specify This is an overpayment made by the New
              Check if this claim relates to a community                 Jersey Department of Labor Unemployment Insurance Office to
              debt                                                       the Debtor. The New Jersey Department of Labor
                                                                         Unemployment Insurance Office overpaid Debtor for a claim
          Is the claim subject to offset?                                that she placed on 12/10/2023 (claim date). Debtor was
                                                                         disqualified for benefits from 12/03/23 through 01/13/24. Debtor
              No                                                         has since appealed and won her appeal. The New Jersey
              Yes                                                        Department of Labor Unemployment Insurance Office Appeal
                                                                         Tribunal reversed the decision and overturned the
                                                                         disqualification on June 24, 2024. On June 26, 2024, the New
                                                                         Jersey Department of Labor Unemployment Insurance Office
                                                                         notified Debtor of its overpayment to Debtor of $994.00.
  4.12 Ollo Card Services/Ally Credit                                    Last 4 digits of account number 5379931015728502
                                                                                                                                            $ 4,946.56
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 06/20/2018

          Card/CWS/Portfolio Recovery Associates                         As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
          1511 Friendship Road                                              Unliquidated
          Number
                        Street                                              Disputed
          Jefferson City MO               65109
          City                   State    ZIP Code
                                                                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                       page 5 of 18
                  Patricia H Krzywonos
 Debtor          Case      24-17435-ABA
                  First Name           Middle Name     Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                            17:21:21         Desc Main
                                                                                                                number(if known)

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  4.13 Quality Asset Recovery LLC / Cooper University                      Last 4 digits of account number 1474503 Ref: 0011342026
                                                                                                                                              $ 765.58
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 11/20/2023

          Health Care                                                      As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
          PO Box 239                                                          Unliquidated
          Number
                         Street                                               Disputed
          Gibbsboro NJ                 08026
          City                 State   ZIP Code
                                                                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.14 Receivables Management Systems / Patients                           Last 4 digits of account number Ref 0010679810
                                                                                                                                              $ 206.07
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 01/12/2022

          First                                                            As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
          PO Box 73810                                                        Unliquidated
          Number
                         Street                                               Disputed
          North Chesterfield VA                  23235-8047
          City                          State    ZIP Code
                                                                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.15 SyncB/Amazon PLCC                                                   Last 4 digits of account number 6045781098159824
                                                                                                                                             $ 2,875.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 11/27/2016

          4125 Windward Plaza                                              As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                         Street
          Alpharetta GA                30005                                  Unliquidated
          City             State       ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                      page 6 of 18
                  Patricia H Krzywonos
 Debtor          Case
                 First Name24-17435-ABA
                                    Middle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
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                                                                                                           number(if known)

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  4.16 SyncB/Care Credit                                              Last 4 digits of account number 6019183837944271
                                                                                                                                         $ 1,335.66
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 08/26/2021

          C/O PO Box 965036                                           As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Orlando FL              32896-5036                             Unliquidated
          City         State      ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.17 The Law Offices of Robert S. Gitmeid &                         Last 4 digits of account number 5063
                                                                                                                                        $ 15,459.85
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 11/07/2023

          Associates, PLLC                                            As of the date you file, the claim is: Check all that apply.
                                                                         Contingent
          11 Broadway                                                    Unliquidated
          Number
                        Street                                           Disputed
          Suite 960
                                                                      Type of NONPRIORITY unsecured claim:
          New York NJ               10004                               Student loans
          City            State     ZIP Code                             Obligations arising out of a separation agreement or divorce
          Who owes the debt? Check one.                                  that you did not report as priority claims
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 only                                              debts
              Debtor 2 only                                             Other. Specify Promised to help pay creditors
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.18 The Swiss Colony                                               Last 4 digits of account number 241605224084A
                                                                                                                                          $ 267.94
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 12/17/2020

          1112 7th Avenue                                             As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Monroe WI               53566-1364                             Unliquidated
          City        State       ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                       page 7 of 18
                  Patricia H Krzywonos
 Debtor          Case
                 First Name24-17435-ABAMiddle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
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                                                                                                              number(if known)

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  4.19 WebBank/One Main/FIS/Brightway                                    Last 4 digits of account number #0533 #5494292193188252
                                                                                                                                                                        $ 2,634.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 08/11/2023

          100 International Drive                                        As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Suite 1500                                                        Unliquidated
                                                                            Disputed
          Baltimore MD                21202
          City            State       ZIP Code
                                                                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        ADS/Comenity Bank/Hottopic                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.1    of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 182273
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                     Street
        Columbus OH                   43218-2273                                    Claims
        City            State         ZIP Code                                      Last 4 digits of account number 1839


        Amazon PLCC/SyncBank                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.15 of (Check one):            Part 1: Creditors with Priority Unsecured Claims
        P.O. Box 71711
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                     Street
        Philadelphia PA                 19176-1711                                  Claims
        City                  State     ZIP Code                                    Last 4 digits of account number 9824


        AvanteUSA Ltd./Kohl's/Capital One                                           On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.9    of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        3600 S. Gessner Road
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                     Street
        Suite 225                                                                   Claims
                                                                                    Last 4 digits of account number 6026
        Houston TX               77063
        City         State       ZIP Code

        Best Egg                                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.2    of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 42912
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                     Street
        Philadelphia PA                 19101                                       Claims
        City                  State     ZIP Code                                    Last 4 digits of account number 5896


        Best Egg                                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.2    of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 207865
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                     Street
        Dallas TX             75320-7865                                            Claims
        City      State       ZIP Code                                              Last 4 digits of account number 5896




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 8 of 18
                Patricia H Krzywonos
 Debtor        Case
               First Name24-17435-ABA
                                    Middle Name    Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
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                                                                                                            number(if known)

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                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Best Egg
        Creditor’s Name                                                          Line 4.2     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Wells Fargo Lockbox / Lockbox 207865                                                                           Part 2: Creditors with Nonpriority Unsecured
        Number
                   Street                                                        Claims
        2975 Regent Blvd., Ste. 100
                                                                                 Last 4 digits of account number 5896
        Irving TX           75063
        City     State      ZIP Code

        Best Egg                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.2     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        3419 Silverside Road
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Wilmington DE               19810                                        Claims
        City             State      ZIP Code                                     Last 4 digits of account number 5896


        Betrlink/The Law Offices of Robert S. Gitmeid & Associates,              On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.17 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PLLC
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        222 Broadway                                                             Claims
        Number
                   Street                                                        Last 4 digits of account number 5063
        Floor 19

        New York NY              10038
        City           State     ZIP Code

        Capital One - Platinum Mastercard                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.3     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        1680 Capital One Drive
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        McLean VA              22102                                             Claims
        City       State       ZIP Code                                          Last 4 digits of account number 4070


        Capital One - Platinum Mastercard                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.3     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 30285
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Attn: General Correspondence                                             Claims
                                                                                 Last 4 digits of account number 4070
        Salt Lake City UT             84130-0285
        City                State     ZIP Code

        Capital One - Platinum Mastercard                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.3     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 4069
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Carol Stream IL               60197-4069                                 Claims
        City                State     ZIP Code                                   Last 4 digits of account number 4070


        Capital One - Quicksilver                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.4     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        1680 Capital One Drive
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        McLean VA              22102                                             Claims
        City       State       ZIP Code                                          Last 4 digits of account number 1142




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 9 of 18
                Patricia H Krzywonos
 Debtor        Case
               First Name24-17435-ABAMiddle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                        17:21:21         Desc Main
                                                                                                            number(if known)

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                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Capital One - Quicksilver
        Creditor’s Name                                                          Line 4.4     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 30285                                                                                                   Part 2: Creditors with Nonpriority Unsecured
        Number
                    Street                                                       Claims
        Attn: General Correspondence
                                                                                 Last 4 digits of account number 1142
        Salt Lake City UT              84130-0285
        City                 State     ZIP Code

        Capital One - Quicksilver                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.4     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 4069
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                    Street
        Carol Stream IL               60197-4069                                 Claims
        City                State     ZIP Code                                   Last 4 digits of account number 1142


        Capital One Consumer Services / Capital One - Platinum                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.3     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        Mastercard
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        PO Box 30273                                                             Claims
        Number
                    Street                                                       Last 4 digits of account number 4070
        Salt Lake City UT              84130-0273
        City                 State     ZIP Code

        Capital One Consumer Services / Capital One - Quicksilver                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.4     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 30273
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                    Street
        Salt Lake City UT              84130-0273                                Claims
        City                 State     ZIP Code                                  Last 4 digits of account number 1142


        Capital One/Kohl's/AvanteUSA Ltd.                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        1680 Capital One Drive
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                    Street
        McLean VA              22102                                             Claims
        City       State       ZIP Code                                          Last 4 digits of account number 6026


        Capital One/Kohl's/AvanteUSA Ltd.                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 71083
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                    Street
        Charlotte NC            28272-1083                                       Claims
        City        State       ZIP Code                                         Last 4 digits of account number 6026


        CitiCards CBNA/Citibank                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.5     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 6241
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                    Street
        Sioux Falls SD              57117                                        Claims
        City            State       ZIP Code                                     Last 4 digits of account number 0119


        CitiCards CBNA/Citibank                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.5     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        388 Greenwich Street Trading Building
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                    Street
        4th Floor                                                                Claims
                                                                                 Last 4 digits of account number 0119
        New York NY             10013
        City           State    ZIP Code




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 10 of 18
                Patricia H Krzywonos
 Debtor        Case
               First Name24-17435-ABA
                                   Middle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                      17:21:21         Desc Main
                                                                                                          number(if known)

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                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        CitiCards CBNA/Citibank
        Creditor’s Name                                                        Line 4.5     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 9001037                                                                                               Part 2: Creditors with Nonpriority Unsecured
        Number
                   Street                                                      Claims
        Louisville KY            40290-1037
                                                                               Last 4 digits of account number 0119
        City           State     ZIP Code

        CitiCards CBNA/Citibank                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.5     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 6500
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        General Correspondence                                                 Claims
                                                                               Last 4 digits of account number 0119
        Sioux Falls SD            57117
        City             State    ZIP Code

        Comenity Capital Bank/CosmoProf                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.6     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 650965
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Dallas TX           75265                                              Claims
        City     State      ZIP Code                                           Last 4 digits of account number 2381


        Comenity Capital Bank/CosmoProf                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.6     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 182120
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Columbus OH              43218                                         Claims
        City            State    ZIP Code                                      Last 4 digits of account number 2381


        Comenity Capital Bank/CosmoProf                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.6     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 183003
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Columbus OH              43218-3003                                    Claims
        City            State    ZIP Code                                      Last 4 digits of account number 2381


        Comenity Capital Bank/CosmoProf                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.6     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        3001 Colorado Boulevard
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Denton TX              76210                                           Claims
        City      State        ZIP Code                                        Last 4 digits of account number 2381


        Comenity Capital Bank/CosmoProf                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.6     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        3095 Loyalty Circle
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Building A                                                             Claims
                                                                               Last 4 digits of account number 2381
        Columbus OH              43219
        City            State    ZIP Code

        Comenity Capital Bank/CosmoProf                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.6     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 182063
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Columbus OH              43218                                         Claims
        City            State    ZIP Code                                      Last 4 digits of account number 2381




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                Patricia H Krzywonos
 Debtor        Case
               First Name24-17435-ABAMiddle Name     Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                          17:21:21         Desc Main
                                                                                                              number(if known)

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                                                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Comenity Capital Bank/CosmoProf
        Creditor’s Name                                                            Line 4.6     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 650964                                                                                                    Part 2: Creditors with Nonpriority Unsecured
        Number
                   Street                                                          Claims
        Dallas TX           75265-0964
                                                                                   Last 4 digits of account number 2381
        City     State      ZIP Code

        Cooper University Health Care Central Billing Office/Quality               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.13 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Asset Recovery LLC
                                                                                                                         Part 2: Creditors with Nonpriority Unsecured
        1 Federal Street                                                           Claims
        Number
                   Street                                                          Last 4 digits of account number 2026
        Suite SW-200

        Camden NJ                08103-1155
        City        State        ZIP Code

        FB&T/Mercury Card Services                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.7     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 84064
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                   Street
        Columbus GA                 31908-4064                                     Claims
        City           State        ZIP Code                                       Last 4 digits of account number 7061


        FB&T/Mercury Card Services                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.7     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 70168
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                   Street
        Philadelphia PA               19176-0168                                   Claims
        City                State     ZIP Code                                     Last 4 digits of account number 7061


        Kingston Family Dentistry                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.8     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        P.O. Box 1980
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                   Street
        Cherry Hill NJ              08034                                          Claims
        City           State        ZIP Code                                       Last 4 digits of account number 1322


        Kohl's/Capital One/AvanteUSA Ltd.                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 3120
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                   Street
        Milwaukee WI                53201-3120                                     Claims
        City             State      ZIP Code                                       Last 4 digits of account number 6026


        Kohl's/Capital One/AvanteUSA Ltd.                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 3043
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                   Street
        Milwaukee WI                53201-3043                                     Claims
        City             State      ZIP Code                                       Last 4 digits of account number 6026


        Kohl's/Capital One/AvanteUSA Ltd.                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        N56 W17000
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                   Street
        Menomonee Falls WI                   53051                                 Claims
        City                        State    ZIP Code                              Last 4 digits of account number 6026




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 12 of 18
                Patricia H Krzywonos
 Debtor        Case      24-17435-ABA
                 First Name           Middle Name    Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                          17:21:21         Desc Main
                                                                                                              number(if known)

                                                                         Document Page 32 of 77
                                                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
        Kohl's/Capital One/AvanteUSA Ltd.
        Creditor’s Name                                                            Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 60043                                                                                                     Part 2: Creditors with Nonpriority Unsecured
        Number
                     Street                                                        Claims
        City Of Industry CA               91716
                                                                                   Last 4 digits of account number 6026
        City                    State     ZIP Code

        Kohl's/Capital One/AvanteUSA Ltd.                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 1456
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                     Street
        Charlotte NC            28201                                              Claims
        City          State     ZIP Code                                           Last 4 digits of account number 6026


        Merrick Bank Corp                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.10 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 9201
        Number                                                                                                           Part 2: Creditors with Nonpriority Unsecured
                     Street
        Old Bethpage NY                 11804-9001                                 Claims
        City                  State     ZIP Code                                   Last 4 digits of account number 8925


        New Jersey Department of Labor Unemployment Insurance                      On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.11 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Office
                                                                                                                         Part 2: Creditors with Nonpriority Unsecured
        Appeal Tribunal                                                            Claims
        Number
                     Street                                                        Last 4 digits of account number 5063
        P.O. Box 907

        Trenton NJ            08625-0907
        City        State     ZIP Code

        New Jersey Department of Labor and Workforce                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.11 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Development
                                                                                                                         Part 2: Creditors with Nonpriority Unsecured
        1 John Fitch Plaza                                                         Claims
        Number
                     Street                                                        Last 4 digits of account number 5063
        Trenton NJ            08625
        City        State     ZIP Code

        New Jersey Department of Labor and Workforce                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.11 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Development
                                                                                                                         Part 2: Creditors with Nonpriority Unsecured
        1st Floor, 171 Jersey Street                                               Claims
        Number
                     Street                                                        Last 4 digits of account number 5063
        Building 5

        Trenton NJ            08611
        City        State     ZIP Code

        New Jersey Department of Labor and Workforce                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                   Line 4.11 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Development Unemployment Insurance Office
                                                                                                                         Part 2: Creditors with Nonpriority Unsecured
        550 Jersey Avenue                                                          Claims
        Number
                     Street                                                        Last 4 digits of account number 5063
        New Brunswick NJ                  08901
        City                   State      ZIP Code




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 13 of 18
                Patricia H Krzywonos
 Debtor        Case      24-17435-ABA
                First Name           Middle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
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                                                                                                            number(if known)

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                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Ollo Card Services/Ally Credit Card/CWS/Portfolio Recovery
        Creditor’s Name                                                          Line 4.12 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Associates                                                                                                     Part 2: Creditors with Nonpriority Unsecured

                                                                                 Claims
        1000 N. West Street
        Number                                                                   Last 4 digits of account number 8502
                    Street
        FL 11

        Wilmington DE            19801
        City             State   ZIP Code

        Ollo Card Services/Ally Credit Card/CWS/Portfolio Recovery               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.12 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Associates
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        PO Box 9222                                                              Claims
        Number
                    Street                                                       Last 4 digits of account number 8502
        Old Bethpage NY                11804-9222
        City                 State     ZIP Code

        Ollo Card Services/Ally Credit Card/CWS/Portfolio Recovery               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.12 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Associates
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        PO Box 660371                                                            Claims
        Number
                    Street                                                       Last 4 digits of account number 8502
        Dallas TX            75266-0371
        City     State       ZIP Code

        Portfolio Recovery Associates/Ollo Card Services/Ally Credit             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.12 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Card/CWS
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        P.O. Box 12914                                                           Claims
        Number
                    Street                                                       Last 4 digits of account number 8502
        Norfolk VA           23541
        City      State      ZIP Code

        Portfolio Recovery Associates/Ollo Card Services/Ally Credit             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.12 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Card/CWS
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        120 Corporate Blvd.                                                      Claims
        Number
                    Street                                                       Last 4 digits of account number 8502
        Norfolk VA           23502
        City      State      ZIP Code

        Quality Asset Recovery LLC / Cooper University Health                    On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.13 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Care
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        PO Box 2090                                                              Claims
        Number
                    Street                                                       Last 4 digits of account number 2026
        Morrisville NC           27560
        City           State     ZIP Code

        Quality Asset Recovery LLC / Cooper University Health                    On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.13 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Care
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        7 Foster Avenue                                                          Claims
        Number
                    Street                                                       Last 4 digits of account number 2026
        Suite #101

        Gibbsboro NJ             08026
        City           State     ZIP Code




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 14 of 18
                Patricia H Krzywonos
 Debtor        Case
               First Name24-17435-ABAMiddle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
                                                                                                        17:21:21         Desc Main
                                                                                                            number(if known)

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                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Quality Asset Recovery LLC / Cooper University Health
        Creditor’s Name                                                          Line 4.13 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Care                                                                                                           Part 2: Creditors with Nonpriority Unsecured

                                                                                 Claims
        PO Box 95000-4345
        Number                                                                   Last 4 digits of account number 2026
                   Street
        Philadelphia PA               19195-4345
        City                State     ZIP Code

        Receivables Management Systems / Patients First                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.14 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        1807 Huguenot Road
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Midlothian VA               23113                                        Claims
        City           State        ZIP Code                                     Last 4 digits of account number 9810


        State of New Jersey Department of Labor and Workforce                    On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.11 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Development
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        P.O. Box 951                                                             Claims
        Number
                   Street                                                        Last 4 digits of account number 5063
        Trenton NJ            08625-0951
        City      State       ZIP Code

        SyncB/Amazon PLCC                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 960013
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Orlando FL             32896-0013                                        Claims
        City       State       ZIP Code                                          Last 4 digits of account number 9824


        SyncB/Amazon PLCC                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 965003
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Orlando FL             32896-5003                                        Claims
        City       State       ZIP Code                                          Last 4 digits of account number 9824


        SyncB/Amazon PLCC                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        777 Long Ridge Road
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Stamford CT             06902-1247                                       Claims
        City        State       ZIP Code                                         Last 4 digits of account number 9824


        SyncB/Amazon PLCC                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 71740
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Philadelphia PA               19176-1740                                 Claims
        City                State     ZIP Code                                   Last 4 digits of account number 9824


        SyncB/Amazon PLCC                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        140 Wekiva Springs Road
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Longwood FL                 32779                                        Claims
        City           State        ZIP Code                                     Last 4 digits of account number 9824




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 15 of 18
                Patricia H Krzywonos
 Debtor        Case
               First Name24-17435-ABAMiddle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
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                                                                                                            number(if known)

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                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        SyncB/Amazon PLCC
        Creditor’s Name                                                          Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        410 Terry Avenue North                                                                                         Part 2: Creditors with Nonpriority Unsecured
        Number
                   Street                                                        Claims
        Seattle WA             98109
                                                                                 Last 4 digits of account number 9824
        City     State         ZIP Code

        SyncB/Amazon PLCC                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 965015
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Orlando FL              32896                                            Claims
        City       State        ZIP Code                                         Last 4 digits of account number 9824


        SyncB/Amazon PLCC                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.15 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 71737
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Philadelphia PA              71737                                       Claims
        City                State    ZIP Code                                    Last 4 digits of account number 9824


        SyncB/Care Credit                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.16 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        555 Anton Blvd.
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Suite 700                                                                Claims
                                                                                 Last 4 digits of account number 4271
        Costa Mesa CA                92626
        City                State    ZIP Code

        SyncB/Care Credit                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.16 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 71715
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Philadelphia PA              19176-1715                                  Claims
        City                State    ZIP Code                                    Last 4 digits of account number 4271


        SyncB/Care Credit                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.16 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        140 Wekiva Springs Road
        Number                                                                                                         Part 2: Creditors with Nonpriority Unsecured
                   Street
        Longwood FL                 32779                                        Claims
        City            State       ZIP Code                                     Last 4 digits of account number 4271


        The Bank of Missouri/Ally Credit Card/CWS/Portfolio                      On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.12 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Recovery Associates
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        916 N. Kingshighway Street                                               Claims
        Number
                   Street                                                        Last 4 digits of account number 8502
        Perryville MO            63775
        City           State     ZIP Code

        The Bank of Missouri/Ally Credit Card/CWS/Portfolio                      On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                 Line 4.12 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Recovery Associates
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        P.O. Box 309                                                             Claims
        Number
                   Street                                                        Last 4 digits of account number 8502
        Perryville MO            63775-0309
        City           State     ZIP Code




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 16 of 18
                Patricia H Krzywonos
 Debtor        Case
               First Name24-17435-ABA
                                   Middle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
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                                                                                                          number(if known)

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                                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        The Swiss Colony
        Creditor’s Name                                                        Line 4.18 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        1515 S. 21st Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
        Number
                   Street                                                      Claims
        Clinton IA          52732
                                                                               Last 4 digits of account number 084A
        City      State     ZIP Code

        WebBank/One Main/FIS/Brightway                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 981037
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Boston MA           02298-1037                                         Claims
        City      State     ZIP Code                                           Last 4 digits of account number 8252


        WebBank/One Main/FIS/Brightway                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 59
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Evansville IN             47701                                        Claims
        City           State      ZIP Code                                     Last 4 digits of account number 8252


        WebBank/One Main/FIS/Brightway                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        200 NJ-73
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Unit 6B                                                                Claims
                                                                               Last 4 digits of account number 8252
        West Berlin NJ             08091
        City              State    ZIP Code

        WebBank/One Main/FIS/Brightway                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 845073
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Dallas FL           75284-5073                                         Claims
        City     State      ZIP Code                                           Last 4 digits of account number 8252


        WebBank/One Main/FIS/Brightway                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        601 NW 2nd Street
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Evansville IN             47708                                        Claims
        City           State      ZIP Code                                     Last 4 digits of account number 8252


        WebBank/One Main/FIS/Brightway                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 1170
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Evansville IN             47706-1170                                   Claims
        City           State      ZIP Code                                     Last 4 digits of account number 8252


        WebBank/One Main/FIS/Brightway                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                               Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 31535TA-74
        Number                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                   Street
        Tampa FL            33631                                              Claims
        City      State     ZIP Code                                           Last 4 digits of account number 8252




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 17 of 18
                Patricia H Krzywonos
 Debtor        Case
               First Name24-17435-ABA
                                Middle Name   Last Name   Doc 1    Filed 07/26/24 Entered 07/26/24Case
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                                                                                                       number(if known)

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                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
        WebBank/One Main/FIS/Brightway
        Creditor’s Name                                                     Line 4.19 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 3316                                                                                               Part 2: Creditors with Nonpriority Unsecured
        Number
                   Street                                                   Claims
        Evansville IN          47732
                                                                            Last 4 digits of account number 2252
        City           State   ZIP Code

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                            Total claim

   Total claims         6a. Domestic support obligations                                          6a.   $ 0.00
   from Part 1
                        6b. Taxes and certain other debts you owe the                             6b.   $ 395.34
                        government
                        6c. Claims for death or personal injury while you were                    6c.   $ 0.00
                            intoxicated
                        6d. Other. Add all other priority unsecured claims. Write that            6d.   $ 0.00
                            amount here.
                        6e. Total. Add lines 6a through 6d.                                       6e.
                                                                                                         $ 395.34



                                                                                                            Total claim

   Total claims         6f. Student loans                                                         6f.   $ 0.00
   from Part 2
                        6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                            divorce that you did not report as priority claims
                        6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                            similar debts
                        6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 46,053.72
                            amount here.
                        6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                         $ 46,053.72




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 18 of 18
             Case 24-17435-ABA                           Doc 1      Filed 07/26/24 Entered 07/26/24 17:21:21                           Desc Main
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  Fill in this information to identify your case:

  Debtor 1
                     Patricia H Krzywonos
                      First Name                                  Last Name
                                           Middle Name

  Debtor 2
  (Spouse, if filing) First Name                  Middle Name
                                                                        Last Name



  United States Bankruptcy Court for the: District of New Jersey

  Case number                                                                                                                               Check if this is
  (if know)                                                                                                                                 an amended
                                                                                                                                            filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                            State what the contract or lease is for

 2.1                                                                                         AT&T Mobility, Wireless Cell Phone & Service Account Number:
          AT&T Mobility Wireless                                                             545848348 Foundation Account: 00032437 Samsung Galaxy A54
          Name                                                                               5G 128GB Purchaser
          PO Box 6416
          Street
          Carol Stream IL              60197-6416
          City                 State   ZIP Code
 2.2                                                                                         The Westover Companies, RB Run Townhomes 2020 LLC d/b/a Red
          The Westover Companies, RB Run Townhomes 2020 LLC                                  Bank Run Townhomes, 701 Red Bank Run Avenue, Woodbury, NJ
          Name                                                                               08096 Apartment H12 at Red Bank Run Townhomes Both the
                                                                                             Debtor and her adult household member son, Melton Leach III, are
          d/b/a Red Bank Run Townhomes
                                                                                             signatories on this apartment lease. Lessee

          701 Red Bank Run Avenue
          Street
          Woodbury NJ              08096
          City             State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                page 1 of 1
             Case 24-17435-ABA                  Doc 1    Filed 07/26/24 Entered 07/26/24 17:21:21                         Desc Main
                                                        Document Page 39 of 77
Fill in this information to identify your case:

Debtor 1
                Patricia H Krzywonos
                     First Name                      Last Name
                                  Middle Name

Debtor 2
(Spouse, if filing) First Name         Middle Name
                                                          Last Name



United States Bankruptcy Court for the: District of New Jersey

Case number                                                                                                                      Check if this is
(if know)                                                                                                                        an amended
                                                                                                                                 filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                              12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                          Column 2: The creditor to whom you owe the debt
                                                                                        Check all schedules that apply:




Official Form 106H                                                Schedule H: Your Codebtors                                              page 1 of 1
               Case 24-17435-ABA                Doc 1      Filed 07/26/24 Entered 07/26/24 17:21:21                            Desc Main
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 Fill in this information to identify your case:

                      Patricia H Krzywonos
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of New Jersey District
                                                                                tate)
 Case number         ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed
    information about additional         Employment status                                                         Employed
    employers.                                                         Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.                                               Sales Associate
                                         Occupation                 __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       Brotherly Bud
                                         Employer’s name            __________________________________            __________________________________


                                         Employer’s address           500 North Black Horse Pike
                                                                   _______________________________________      ________________________________________
                                                                    Number Street                                Number    Street

                                                                   _______________________________________      ________________________________________

                                                                   _______________________________________      ________________________________________

                                                                      Mount Ephraim, NJ 08059
                                                                   _______________________________________      ________________________________________
                                                                    City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________
                                                                   Started 7/14/2024; Full time; Debtor________________________
                                                                                                        has not received first paycheck yet.


 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.       1,592.00
                                                                                              $___________          $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________
                                                                                                       0.00      + $____________

 4. Calculate gross income. Add line 2 + line 3.                                        4.       1,592.00
                                                                                              $__________           $____________




Official Form 106I                                             Schedule I: Your Income                                                        page 1
            Case  24-17435-ABA
              Patricia H Krzywonos
                                                           Doc 1         Filed 07/26/24 Entered 07/26/24 17:21:21 Desc Main
Debtor 1         _______________________________________________________Document     Page 41 of Case
                                                                                                77 number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.      1,592.00
                                                                                                                        $___________          $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.         166.16
                                                                                                                        $____________         $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________         $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________         $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________         $_____________
     5e. Insurance                                                                                               5e.           0.00
                                                                                                                        $____________         $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________         $_____________
                                                                                                                               0.00
                                                                                                                        $____________         $_____________
     5g. Union dues                                                                                              5g.
                                     NJ Family Leave Insurance                                                   5h. + $____________
     5h. Other deductions. Specify: __________________________________                                                        1.30          + $_____________
     Cash Tips Deduction
    _____________________________________________________________
                                                                                                                              68.00
                                                                                                                        $____________         $____________
     Workforce Development Tax
    _____________________________________________________________                                                              0.62
                                                                                                                        $____________         $____________
     NJ Employee SUTA Tax
    _____________________________________________________________                                                              5.56
                                                                                                                        $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.         241.64
                                                                                                                        $____________         $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       1,350.36
                                                                                                                        $____________         $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________         $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________         $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________         $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________
                   See continuation page attached                                  8f.                                       139.21
                                                                                                                        $____________         $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________         $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00          + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.         139.21
                                                                                                                        $____________         $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           1,489.57
                                                                                                                        $___________    +     $_____________      = $_____________
                                                                                                                                                                       1,489.57

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              Contributions from Household Member - Debtor's Adult Son (see PFFCU Checking Account) 11. + $_____________
    Specify: _______________________________________________________________________________                 1,064.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                       2,553.57
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
       No.           Annual changes (increases or decreases in income) that may occur for the Debtor consists of
      
      ✔ Yes. Explain: Non-Employment Income which currently includes: (1) NJ SNAP (monetary assistance for food), (2)
                               Electric bill assistance (from NJ United Service Fund-PSEG), and (3) regular monthly income from the
                               Debtor's adult son (a household member). Income from the Debtor's adult son, although regular, varies in
  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
           Case 24-17435-ABA             Doc 1         Filed 07/26/24 Entered 07/26/24 17:21:21             Desc Main
               Patricia H Krzywonos                   Document Page 42 of 77
Debtor 1                                                           _               Case number (if known)
              First Name   Middle Name    Last Name



                                             Continuation Sheet for Official Form 106I



8f Other government assistance that you regularly receive:

NJ Supplemental Nutrition Assistance Program (Food Stamp Program) SNAP Benefits (Debtor)
$111.83

NJ Universal Service Fund for Electric Bill (PSEG) (Debtor)                                                 $27.38




  Official Form 106I                                     Schedule I: Your Income
               Case 24-17435-ABA                 Doc 1         Filed 07/26/24 Entered 07/26/24 17:21:21                                       Desc Main
                                                              Document Page 43 of 77
  Fill in this information to identify your case:

                     Patricia H Krzywonos
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          District of New Jersey
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                          expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Son                                      26             No
                                                                                          _________________________                ________
   names.                                                                                                                                         
                                                                                                                                                  ✔ Yes

                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,348.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      12.67
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                      0.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
              Case 24-17435-ABA                   Doc 1           Filed 07/26/24 Entered 07/26/24 17:21:21                    Desc Main
                                                                 Document Page 44 of 77
                    Patricia H Krzywonos
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     166.58
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                      81.19
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     193.11
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     800.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                     100.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                     150.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                      29.70
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     140.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                      50.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                      25.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.                    0.00
                                                                                                                       $_____________________
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     120.44
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                        0.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
                              Amazon Prime Monthly Debit from PFFCU Checking Account (6/29/2024)
        17c. Other. Specify:_______________________________________________                 17c. $_____________________
                                                                                                                15.98
        17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                       $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
              Case 24-17435-ABA                 Doc 1           Filed 07/26/24 Entered 07/26/24 17:21:21                         Desc Main
                                                               Document Page 45 of 77
                   Patricia H Krzywonos
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 3,232.67
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 3,232.67
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       2,553.57
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 3,232.67
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                   -679.10
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
       Yes.
      ✔             Explain here:   Cost of living expenses for gas for automobile and food prices have been increasing, Xfinity
                                    internet cost will likely increase, Universal Service Fund Benefit for electric bill (PSEG) will
                                    expire, health care costs will increase due to indefinite and ongoing illnesses and recent
                                    hospital visits.




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                Case 24-17435-ABA                    Doc 1    Filed 07/26/24 Entered 07/26/24 17:21:21                           Desc Main
                                                             Document Page 46 of 77
Fill in this information to identify your case:

Debtor 1           Patricia H Krzywonos
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:District of New Jersey  District of __________
                                                                               (State)
Case number         ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Patricia H Krzywonos
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              07/26/2024
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                    Declaration About an Individual Debtor’s Schedules
             Case 24-17435-ABA                           Doc 1          Filed 07/26/24 Entered 07/26/24 17:21:21                                        Desc Main
                                                                       Document Page 47 of 77

 Fill in this information to identify your case:

                    Patricia H Krzywonos
 Debtor 1
                    First Name         Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name          Middle Name            Last Name



 United States Bankruptcy Court for the: District of New Jersey

 Case number
 (if know)                                                                                                                                                      Check if this is
                                                                                                                                                                an amended
                                                                                                                                                                filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                         Debtor 1                                                Debtor 2

                                                                         Sources of income           Gross income                Sources of income         Gross income
                                                                         Check all that apply        (before deductions and      Check all that apply      (before deductions and
                                                                                                     exclusions)                                           exclusions)

         From January 1 of current year until the date                        Wages, commissions,                                   Wages, commissions,
         you filed for bankruptcy:                                            bonuses, tips      $ 796.00                           bonuses, tips      $
                                                                              Operating a business                                  Operating a business


         For last calendar year:                                              Wages, commissions,                                   Wages, commissions,
                                                                              bonuses, tips      $ 41,877.00                        bonuses, tips      $
         (January 1 to December 31, 2023
                                                                              Operating a business                                  Operating a business


         For the calendar year before that:                                   Wages, commissions,                                   Wages, commissions,
                                                                              bonuses, tips      $ 35,524.00                        bonuses, tips      $
         (January 1 to December 31, 2022
                                                                              Operating a business                                  Operating a business


 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
    and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
    Debtor 1.

Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1 of 8
               Case 24-17435-ABA                          Doc 1      Filed 07/26/24 Entered 07/26/24 17:21:21 Desc Main
Debtor          Patricia H Krzywonos
               First Name     Middle Name     Last Name
                                                                    Document Page 48 of 77          Case number(if known)




   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                      Debtor 1                                                                  Debtor 2

                                      Sources of income                     Gross income from each              Sources of income    Gross income from each
                                      Describe below.                       source                              Describe below.      source
                                                                            (before deductions and                                   (before deductions and
                                                                            exclusions)                                              exclusions)
 From January 1 of current
 year until the date you                NJ Unemployment                      $ 12,286.00
 filed for bankruptcy:                  Payments
                                                                             $ 6,384.00
                                        Income from
                                        Household Member                     $ 671.00
                                        Adult Son - Deposits in
                                        PFFCU Checking                       $ 219.04
                                        Account

                                        NJ SNAP Benefits

                                        New Jersey Universal
                                        Service Fund Electric
                                        Bill Benefit
 For last calendar year:
                                        Income from                          $ 7,800.00
 (January 1 to December 31,             Household Member
  2023                                  Adult Son - Bank of                  $ 46.00
                                        America Account
                                        Closed Over a 1 Year
                                        Ago

                                        NJ SNAP Benefits
 For the calendar year
 before that:                           Income from                          $ 6,600.00
                                        Household Member
 (January 1 to December 31,             Adult Son - Bank of
  2022                                  America Account
                                        Closed Over a 1 Year
                                        Ago


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.

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                Case 24-17435-ABA                              Doc 1      Filed 07/26/24 Entered 07/26/24 17:21:21 Desc Main
Debtor           Patricia H Krzywonos
                First Name           Middle Name   Last Name
                                                                         Document Page 49 of 77          Case number(if known)



         Yes. List all payments to an insider.
                                            Dates of payment                      Total amount paid             Amount you still owe   Reason for this payment


                                                                                                                                       Debtor and Debtor's adult son
         Melton Leach III (Debtor's                 09/01/2023                    $ 1,250.00                    $ 0.00                 (Melton Leach III) renewed
         Creditor’s Name                            07/05/2023                                                                         their Red Bank Run
                                                    02/03/2024                                                                         Townhomes apartment lease
         Adult Son)                                                                                                                    (April 1, 2024) for the
                                                                                                                                       apartment #H12 that they both
         701 West Red Bank Avenue                                                                                                      currently live in. As
         Number                                                                                                                        signatories, both are equally,
                      Street
         Apartment #H12                                                                                                                legally obligated and
                                                                                                                                       responsible for paying the
                                                                                                                                       apartment lease rent. Debtor
         Woodbury NJ                 08096                                                                                             pays the apartment rent
         City                State   ZIP Code                                                                                          herself, but due to Debtor
                                                                                                                                       being out of work as of
                                                                                                                                       December 10, 2023, Debtor's
                                                                                                                                       adult son (household
                                                                                                                                       member) helped out with
                                                                                                                                       paying their apartment rent
                                                                                                                                       (January 2, 2024) and other
                                                                                                                                       necessities to avoid being late
                                                                                                                                       and potentially being evicted
                                                                                                                                       (see Police and Fire Federal
                                                                                                                                       Credit Union Checking
                                                                                                                                       Account). There was no intent
                                                                                                                                       to provide any creditors with
                                                                                                                                       an unfair advantage. There
                                                                                                                                       was no intent to provide any
                                                                                                                                       creditors with an unfair
                                                                                                                                       advantage. Debtor's son was
                                                                                                                                       already legally obligated to
                                                                                                                                       ensure payment of the
                                                                                                                                       apartment rent. There was no
                                                                                                                                       expectation to be paid back by
                                                                                                                                       Debtor or Debtor's son, and
                                                                                                                                       neither considered Debtor's
                                                                                                                                       son's payments to be a loan.
                                                                                                                                       Although Debtor's son was
                                                                                                                                       also responsible for paying
                                                                                                                                       the apartment rent, Debtor
                                                                                                                                       wanted to return the favor.
                                                                                                                                       After Debtor provided these
                                                                                                                                       payments to her son, he still
                                                                                                                                       continued to help Debtor to
                                                                                                                                       pay household necessities
                                                                                                                                       afterwards. Debtor paid her
                                                                                                                                       adult son back in cash in the
                                                                                                                                       total amount of $1,250.00 in
                                                                                                                                       six (6) different payments
                                                                                                                                       listed in the following: $500 -
                                                                                                                                       Sept 1st, 2023, $100 - July 5th,
                                                                                                                                       2023, $500 - Feb 3rd, 2024, $25
                                                                                                                                       - Feb 16th, 2024, $70 - Mar
                                                                                                                                       2nd, 2024, $55 - Apr 2nd, 2024.


8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.
                                            Dates of payment                      Total amount paid             Amount you still owe   Reason for this payment
                                                                                                                                       Include creditor’s name




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Debtor           Patricia H Krzywonos
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                                                                         Document Page 50 of 77          Case number(if known)



                                                    09/01/2023                                                                         Debtor and Debtor's adult son
         Melton Leach III (Debtor's                 07/05/2023                    $ 1,250.00                    $ 0.00                 (Melton Leach III) renewed
         Creditor’s Name                            02/03/2024                                                                         their Red Bank Run
                                                                                                                                       Townhomes apartment lease
         Adult Son)
                                                                                                                                       (April 1, 2024) for the
                                                                                                                                       apartment #H12 that they both
         701 West Red Bank Avenue                                                                                                      currently live in. As
         Number                                                                                                                        signatories, both are equally,
                      Street
         Apartment #H12                                                                                                                legally obligated and
                                                                                                                                       responsible for paying the
                                                                                                                                       apartment lease rent. Debtor
         Woodbury NJ                 08096                                                                                             pays the apartment rent
         City                State   ZIP Code                                                                                          herself, but due to Debtor
                                                                                                                                       being out of work as of
                                                                                                                                       December 10, 2023, Debtor's
                                                                                                                                       adult son (household
                                                                                                                                       member) helped out with
                                                                                                                                       paying their apartment rent
                                                                                                                                       (January 2, 2024) and other
                                                                                                                                       necessities to avoid being late
                                                                                                                                       and potentially being evicted
                                                                                                                                       (see Police and Fire Federal
                                                                                                                                       Credit Union Checking
                                                                                                                                       Account). There was no intent
                                                                                                                                       to provide any creditors with
                                                                                                                                       an unfair advantage. There
                                                                                                                                       was no intent to provide any
                                                                                                                                       creditors with an unfair
                                                                                                                                       advantage. Debtor's son was
                                                                                                                                       already legally obligated to
                                                                                                                                       ensure payment of the
                                                                                                                                       apartment rent. There was no
                                                                                                                                       expectation to be paid back by
                                                                                                                                       Debtor or Debtor's son, and
                                                                                                                                       neither considered Debtor's
                                                                                                                                       son's payments to be a loan.
                                                                                                                                       Although Debtor's son was
                                                                                                                                       also responsible for paying
                                                                                                                                       the apartment rent, Debtor
                                                                                                                                       wanted to return the favor.
                                                                                                                                       After Debtor provided these
                                                                                                                                       payments to her son, he still
                                                                                                                                       continued to help Debtor to
                                                                                                                                       pay household necessities
                                                                                                                                       afterwards. Debtor paid her
                                                                                                                                       adult son back in cash in the
                                                                                                                                       total amount of $1,250.00 in
                                                                                                                                       six (6) different payments
                                                                                                                                       listed in the following: $500 -
                                                                                                                                       Sept 1st, 2023, $100 - July 5th,
                                                                                                                                       2023, $500 - Feb 3rd, 2024, $25
                                                                                                                                       - Feb 16th, 2024, $70 - Mar
                                                                                                                                       2nd, 2024, $55 - Apr 2nd, 2024.



 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details


Official Form 107                                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4 of 8
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                 First Name           Middle Name   Last Name
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12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.

17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.
                                                                       Description and value of any property transferred                Date payment or Amount of
                                                                                                                                        transfer was    payment
                                                                                                                                        made
                                                                      The Law Offices of Robert S. Gitmeid & Associates, PLLC             11/2024        $ 165.50
          The Law Offices of Robert S. Gitmeid &                      and Debtor entered into an agreement on 11/7/2023 for the           12/2024        $ 331.00
          Person Who Was Paid                                         law office to help settle and pay some of Debtor's credit
                                                                      cards. Only two creditors were paid for Debtor: FB&T/Mercury
          Associates, PLLC
                                                                      Credit Card ($378.06) and Best Egg Personal Loan
                                                                      ($486.00). These creditors were not insiders, and neither
          11 Broadway                                                 received $600 or more. Per Debtor's request, the law office
          Number                                                      terminated this agreement with Debtor on June 4, 2024. The
                         Street
          Suite 960                                                   Debtor paid the law firm a total of $1,424.00. Payments and
                                                                      dates follow below: $165.50 on 11/29/2023 $165.50 on
                                                                      12/13/2023 $165.50 on 12/28/2023 $165.50 on 1/10/2024
          New York NJ                 10004                           $165.50 on 1/24/2024 $22.15 on 1/31/2024 $27.85 on
          City                State   ZIP Code                        2/1/2024 $165.50 on 2/7/2024 $165.50 on 2/22/2024 $22.15
                                                                      on 2/29/2024 $27.85 on 3/1/2024 165.50 on 3/6/2024 Total
                                                                      Amount that Debtor paid: $1,424.00 Total Agreement Cost
                                                                      was $16,883.85. Total remaining balance is $15, 459.85.



18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.




Official Form 107                                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 5 of 8
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19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:       List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:       Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:       Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:       Give Details About Your Business or Connections to Any Business




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              First Name    Middle Name    Last Name
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27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                 page 7 of 8
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Debtor         Patricia H Krzywonos
              First Name         Middle Name   Last Name
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 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Patricia H Krzywonos
         Signature of Debtor 1                                                  Signature of Debtor 2

         Date 07/26/2024                                                        Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                              Declaration, and Signature (Official Form 119).




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8 of 8
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  Fill in this information to identify your case:

                     Patricia H Krzywonos
   Debtor 1
                     First Name         Middle Name            Last Name

   Debtor 2
   (Spouse, if filing)   First Name         Middle Name             Last Name



   United States Bankruptcy Court for the: District of New Jersey

   Case number
   (if known)
                                                                                                                                                            Check if this is
                                                                                                                                                            an amended
                                                                                                                                                            filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                        12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever
is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and
date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
                                                                     What do you intend to do with the property Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?


 Part 2:       List Your Unexpired Personal Property Leases


   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
   in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
   You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
      Describe your unexpired personal property leases                                                                         Will the lease be assumed?
   Lessor's                                                                                                                      No
   name:                 AT&T Mobility Wireless
                                                                                                                                 Yes
   Description of leased
   property: AT&T Mobility, Wireless Cell Phone & Service Account Number: 545848348
             Foundation Account: 00032437 Samsung Galaxy A54 5G 128GB


 Part 3:       Sign Below


 Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
 property that is subject to an unexpired lease.



       /s/ Patricia H Krzywonos
         Signature of Debtor 1                                                               Signature of Debtor 2


       Date 07/26/2024                                                                     Date 07/26/2024
               MM/DD/YYYY                                                                          MM/DD/YYYY




 Official Form 108                                             Statement of Intention for Individuals Filing Under Chapter 7                                       page 1 of 1
              Case 24-17435-ABA                      Doc 1         Filed 07/26/24 Entered 07/26/24 17:21:21                                 Desc Main
 Fill in this information to identify your case:
                                                                  Document Page 56 of 77
                                                                                                            Check one box only as directed in this form and in
                                                                                                            Form 122A-1Supp:
 Debtor 1         Patricia H Krzywonos
                  __________________________________________________________________
                     First Name                 Middle Name                   Last Name
                                                                                                            
                                                                                                            ✔ 1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name                  Last Name                       2. The calculation to determine if a presumption of
                                                                                                                  abuse applies will be made under Chapter 7
                                         District of NewDistrict
 United States Bankruptcy Court for the: ____________     Jersey of _______________
                                                                                                                  Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                              3. The Means Test does not apply now because of
 (If known)
                                                                                                                  qualified military service but it could apply later.


                                                                                                             Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        
        ✔ Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
           Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                              Column A             Column B
                                                                                                              Debtor 1             Debtor 2 or
                                                                                                                                   non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                          0.00
                                                                                                               $_________            0.00
                                                                                                                                    $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                    0.00
                                                                                                               $_________            0.00
                                                                                                                                    $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                                  1,064.00
                                                                                                               $_________            0.00
                                                                                                                                    $__________

   5. Net income from operating a business, profession,
                                                                             Debtor 1     Debtor 2
      or farm
      Gross receipts (before all deductions)                                    0.00
                                                                               $______     0.00
                                                                                          $______
        Ordinary and necessary operating expenses                              0.00 – $______
                                                                            – $______  0.00
                                                                                                     Copy
        Net monthly income from a business, profession, or farm                 0.00
                                                                               $______     0.00
                                                                                          $______ here         0.00
                                                                                                               $_________            0.00
                                                                                                                                    $__________

   6. Net income from rental and other real property                         Debtor 1     Debtor 2
      Gross receipts (before all deductions)                                    0.00
                                                                               $______     0.00
                                                                                          $______
        Ordinary and necessary operating expenses                              0.00 – $______
                                                                            – $______  0.00
                                                                                                     Copy
        Net monthly income from rental or other real property                  $______     0.00
                                                                                          $______ here         0.00
                                                                                                               $_________            0.00
                                                                                                                                    $__________
  7. Interest, dividends, and royalties                                                                         0.00
                                                                                                               $_________            0.00
                                                                                                                                    $__________



Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                                       page 1
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Debtor 1           Patricia H Krzywonos
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                        2,047.67
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
            For you ..................................................................................     0.00
                                                                                                         $______________
            For your spouse ..................................................................             0.00
                                                                                                         $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                     0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
            NJ Supplemental Nutrition Assistance Program (Food Stamp Program) SNAP Benefits
           ______________________________________                                     111.83
                                                                                    $_________                                                                      0.00
                                                                                                                                                                  $___________
            NJ Universal Service Fund for Electric Bill (PSEG)
           ______________________________________                                                                                      27.38
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
           Total amounts from separate pages, if any.                                                                               0.00
                                                                                                                                 + $_________                      0.00
                                                                                                                                                               + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                             3,250.88
                                                                                                                                     $_________
                                                                                                                                                           +        0.00
                                                                                                                                                                  $___________
                                                                                                                                                                                      = $__________
                                                                                                                                                                                         3,250.88
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          3,250.88
                                                                                                                                                                                       $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.      39,010.56
                                                                                                                                                                                       $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                                    NJ

       Fill in the number of people in your household.                                                   2

       Fill in the median family income for your state and size of household. ................................................................................................. 13.      100,763.00
                                                                                                                                                                                       $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
       14a. 
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.



       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                  page 2
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Debtor 1     Patricia H Krzywonos
             _______________________________________________________                              Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Patricia H Krzywonos
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       07/26/2024
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
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ADS/Comenity Bank/Hottopic                              Capital One - Platinum Mastercard
PO Box 182789                                           1680 Capital One Drive
Columbus, OH 43218-2789                                 McLean, VA 22102


ADS/Comenity Bank/Hottopic                              Capital One - Platinum Mastercard
PO Box 182273                                           PO Box 30285
Columbus, OH 43218-2273                                 Attn: General Correspondence
                                                        Salt Lake City, UT 84130-0285

Amazon PLCC/SyncBank
P.O. Box 71711                                          Capital One - Platinum Mastercard
Philadelphia, PA 19176-1711                             PO Box 4069
                                                        Carol Stream, IL 60197-4069

AT&T Mobility Wireless
PO Box 6416                                             Capital One - Quicksilver
Carol Stream, IL 60197-6416                             PO Box 31293
                                                        Salt Lake City, UT 84131

AvanteUSA Ltd./Kohl's/Capital One
3600 S. Gessner Road                                    Capital One - Quicksilver
Suite 225                                               1680 Capital One Drive
Houston, TX 77063                                       McLean, VA 22102


Best Egg                                                Capital One - Quicksilver
1523 Concord Pike                                       PO Box 30285
Suite 201                                               Attn: General Correspondence
Wilmington, DE 19803                                    Salt Lake City, UT 84130-0285


Best Egg                                                Capital One - Quicksilver
PO Box 42912                                            PO Box 4069
Philadelphia, PA 19101                                  Carol Stream, IL 60197-4069


Best Egg                                                Capital One Consumer Services / Capital One -
PO Box 207865                                           PO Box 30273
Dallas, TX 75320-7865                                   Salt Lake City, UT 84130-0273


Best Egg                                                Capital One Consumer Services / Capital One -
Wells Fargo Lockbox / Lockbox 207865                    PO Box 30273
2975 Regent Blvd., Ste. 100                             Salt Lake City, UT 84130-0273
Irving, TX 75063

                                                        Capital One/Kohl's/AvanteUSA Ltd.
Best Egg                                                1680 Capital One Drive
3419 Silverside Road                                    McLean, VA 22102
Wilmington, DE 19810

                                                        Capital One/Kohl's/AvanteUSA Ltd.
Betrlink/The Law Offices of Robert S. Gitmeid           PO Box 71083
222 Broadway                                            Charlotte, NC 28272-1083
Floor 19
New York, NY 10038
                                                        CitiCards CBNA/Citibank
                                                        5800 South Corporate Place
Capital One - Platinum Mastercard                       Mail Code 234
PO Box 31293                                            Sioux Falls, SD 57108
Salt Lake City, UT 84131
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CitiCards CBNA/Citibank                                Cooper University Health Care Central Billing
PO Box 6241                                            1 Federal Street
Sioux Falls, SD 57117                                  Suite SW-200
                                                       Camden, NJ 08103-1155

CitiCards CBNA/Citibank
388 Greenwich Street Trading Building                  Department of Treasury, Internal Revenue Serv
4th Floor                                              P.O. Box 742562
New York, NY 10013                                     Cincinnati, OH 45280-2562


CitiCards CBNA/Citibank                                FB&T/Mercury Card Services
PO Box 9001037                                         700 22nd Avenue South
Louisville, KY 40290-1037                              Brookings, SD 57006


CitiCards CBNA/Citibank                                FB&T/Mercury Card Services
PO Box 6500                                            PO Box 84064
General Correspondence                                 Columbus, GA 31908-4064
Sioux Falls, SD 57117

                                                       FB&T/Mercury Card Services
Comenity Capital Bank/CosmoProf                        PO Box 70168
3075 Loyalty Circle                                    Philadelphia, PA 19176-0168
PO Box 182789
Columbus, OH 43218-2789
                                                       Kingston Family Dentistry
                                                       310 Kresson Road
Comenity Capital Bank/CosmoProf                        Cherry Hill, NJ 08034
PO Box 650965
Dallas, TX 75265
                                                       Kingston Family Dentistry
                                                       P.O. Box 1980
Comenity Capital Bank/CosmoProf                        Cherry Hill, NJ 08034
PO Box 182120
Columbus, OH 43218
                                                       Kohl's/Capital One/AvanteUSA Ltd.
                                                       PO Box 3115
Comenity Capital Bank/CosmoProf                        Milwaukee, WI 53201
PO Box 183003
Columbus, OH 43218-3003
                                                       Kohl's/Capital One/AvanteUSA Ltd.
                                                       PO Box 3120
Comenity Capital Bank/CosmoProf                        Milwaukee, WI 53201-3120
3001 Colorado Boulevard
Denton, TX 76210
                                                       Kohl's/Capital One/AvanteUSA Ltd.
                                                       PO Box 3043
Comenity Capital Bank/CosmoProf                        Milwaukee, WI 53201-3043
3095 Loyalty Circle
Building A
Columbus, OH 43219                                     Kohl's/Capital One/AvanteUSA Ltd.
                                                       N56 W17000
                                                       Menomonee Falls, WI 53051
Comenity Capital Bank/CosmoProf
PO Box 182063
Columbus, OH 43218                                     Kohl's/Capital One/AvanteUSA Ltd.
                                                       PO Box 60043
                                                       City Of Industry, CA 91716
Comenity Capital Bank/CosmoProf
PO Box 650964
Dallas, TX 75265-0964
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Kohl's/Capital One/AvanteUSA Ltd.                      Portfolio Recovery Associates/Ollo Card Servi
PO Box 1456                                            P.O. Box 12914
Charlotte, NC 28201                                    Norfolk, VA 23541


Merrick Bank Corp                                      Portfolio Recovery Associates/Ollo Card Servi
10705 S. Jordan Gateway                                120 Corporate Blvd.
South Jordan, UT 84095                                 Norfolk, VA 23502


Merrick Bank Corp                                      Quality Asset Recovery LLC / Cooper Universit
PO Box 9201                                            PO Box 239
Old Bethpage, NY 11804-9001                            Gibbsboro, NJ 08026


New Jersey Department of Labor and Workforce           Quality Asset Recovery LLC / Cooper Universit
1 John Fitch Plaza                                     PO Box 2090
Trenton, NJ 08625                                      Morrisville, NC 27560


New Jersey Department of Labor and Workforce           Quality Asset Recovery LLC / Cooper Universit
1st Floor, 171 Jersey Street                           7 Foster Avenue
Building 5                                             Suite #101
Trenton, NJ 08611                                      Gibbsboro, NJ 08026


New Jersey Department of Labor and Workforce           Quality Asset Recovery LLC / Cooper Universit
550 Jersey Avenue                                      PO Box 95000-4345
New Brunswick, NJ 08901                                Philadelphia, PA 19195-4345


New Jersey Department of Labor Unemployment I          Receivables Management Systems / Patients Fir
P.O. Box 998                                           PO Box 73810
Pleasantville, NJ 08232-0998                           North Chesterfield, VA 23235-8047


New Jersey Department of Labor Unemployment I          Receivables Management Systems / Patients Fir
Appeal Tribunal                                        1807 Huguenot Road
P.O. Box 907                                           Midlothian, VA 23113
Trenton, NJ 08625-0907

                                                       State of New Jersey Department of Labor and W
Ollo Card Services/Ally Credit Card/CWS/Portf          P.O. Box 951
1511 Friendship Road                                   Trenton, NJ 08625-0951
Jefferson City, MO 65109

                                                       SyncB/Amazon PLCC
Ollo Card Services/Ally Credit Card/CWS/Portf          4125 Windward Plaza
1000 N. West Street                                    Alpharetta, GA 30005
FL 11
Wilmington, DE 19801
                                                       SyncB/Amazon PLCC
                                                       PO Box 960013
Ollo Card Services/Ally Credit Card/CWS/Portf          Orlando, FL 32896-0013
PO Box 9222
Old Bethpage, NY 11804-9222
                                                       SyncB/Amazon PLCC
                                                       PO Box 965003
Ollo Card Services/Ally Credit Card/CWS/Portf          Orlando, FL 32896-5003
PO Box 660371
Dallas, TX 75266-0371
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SyncB/Amazon PLCC                                     The Law Offices of Robert S. Gitmeid & Associ
777 Long Ridge Road                                   11 Broadway
Stamford, CT 06902-1247                               Suite 960
                                                      New York, NJ 10004

SyncB/Amazon PLCC
PO Box 71740                                          The Swiss Colony
Philadelphia, PA 19176-1740                           1112 7th Avenue
                                                      Monroe, WI 53566-1364

SyncB/Amazon PLCC
140 Wekiva Springs Road                               The Swiss Colony
Longwood, FL 32779                                    1515 S. 21st Street
                                                      Clinton, IA 52732

SyncB/Amazon PLCC
410 Terry Avenue North                                The Westover Companies, RB Run Townhomes 2020
Seattle, WA 98109                                     701 Red Bank Run Avenue
                                                      Woodbury, NJ 08096

SyncB/Amazon PLCC
PO Box 965015                                         WebBank/One Main/FIS/Brightway
Orlando, FL 32896                                     100 International Drive
                                                      Suite 1500
                                                      Baltimore, MD 21202
SyncB/Amazon PLCC
PO Box 71737
Philadelphia, PA 71737                                WebBank/One Main/FIS/Brightway
                                                      PO Box 981037
                                                      Boston, MA 02298-1037
SyncB/Care Credit
C/O PO Box 965036
Orlando, FL 32896-5036                                WebBank/One Main/FIS/Brightway
                                                      PO Box 59
                                                      Evansville, IN 47701
SyncB/Care Credit
555 Anton Blvd.
Suite 700                                             WebBank/One Main/FIS/Brightway
Costa Mesa, CA 92626                                  200 NJ-73
                                                      Unit 6B
                                                      West Berlin, NJ 08091
SyncB/Care Credit
PO Box 71715
Philadelphia, PA 19176-1715                           WebBank/One Main/FIS/Brightway
                                                      PO Box 845073
                                                      Dallas, FL 75284-5073
SyncB/Care Credit
140 Wekiva Springs Road
Longwood, FL 32779                                    WebBank/One Main/FIS/Brightway
                                                      601 NW 2nd Street
                                                      Evansville, IN 47708
The Bank of Missouri/Ally Credit Card/CWS/Por
916 N. Kingshighway Street
Perryville, MO 63775                                  WebBank/One Main/FIS/Brightway
                                                      PO Box 1170
                                                      Evansville, IN 47706-1170
The Bank of Missouri/Ally Credit Card/CWS/Por
P.O. Box 309
Perryville, MO 63775-0309                             WebBank/One Main/FIS/Brightway
                                                      PO Box 31535TA-74
                                                      Tampa, FL 33631
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WebBank/One Main/FIS/Brightway
PO Box 3316
Evansville, IN 47732
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                                United States Bankruptcy Court
                                District of New Jersey




         Patricia H Krzywonos
In re:                                                            Case No.

                                                                  Chapter    7
                     Debtor(s)




                                Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              07/26/2024                           /s/ Patricia H Krzywonos
Date:
                                                  Signature of Debtor



                                                  Signature of Joint Debtor
       Case
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                                      United States Bankruptcy Court
                                                                 District of New Jersey
                                               __________________________________
     In re Patricia H Krzywonos
                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         0.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 0.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify) No. Not applicable. This is a pro bono case. I have not received any compensation.

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify) No. Not applicable. This is a pro bono case. I have not received any compensation.

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
Yes, this is a pro bono case assigned to me by the South Jersey Legal Services - filing the bankruptcy application and attending the 341a Meeting
of creditors are the services I am providing.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Includes all services listed above only.
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       07/26/2024                        /s/ Theodore M. Liddell, 044402013
     _____________________              _________________________________________
     Date                                     Signature of Attorney
                                         Law Office of Theodore M. Liddell L.L.C.
                                        _________________________________________
                                             ​Name of law firm
                                         113 West White Horse Road
                                         Suite #2
                                         Voorhees, NJ 08043
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                        WRITTEN NOTICE REQUIRED UNDER SECTION 527(a)(2)


        All information that you are required to provide with a petition and thereafter during a case under title 11
("Bankruptcy") of the United States Code is required to be complete, accurate, and truthful.

       All assets and all liabilities are required to be completely and accurately disclosed in the documents filed to
commence the case, and the replacement value of each asset as defined in title 11 United States Code section 506
must be stated in those documents where requested after reasonable inquiry to establish such value.

        Current monthly income, the amounts specified in section 707(b)(2), and, in a case under chapter 13 of title
11, disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry.

        Information that you provide during your case may be audited pursuant to title 11. Failure to provide such
information may result in dismissal of the case under title 11 or other sanction, including criminal sanctions.




      Date 07/26/2024                                              /s/ Patricia H Krzywonos
                                                                   Patricia H Krzywonos
                                                                   Debtor




                                                                   Joint Debtor



                                                                   /s/ Theodore M. Liddell
                                                                   Theodore M. Liddell
                                                                   Attorney for Debtor(s)
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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

        You are an individual filing for bankruptcy,                      $245     filing fee
         and                                                                $78     administrative fee
                                                                 +          $15     trustee surcharge
        Your debts are primarily consumer debts.
                                                                           $338     total fee
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                    difficulty preventing them from paying their
         household purpose.”                                     debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
        Chapter 7 — Liquidation
                                                                 However, if the court finds that you have
        Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
        Chapter 12 — Voluntary repayment plan
                                                                 may deny your discharge.
                      for family farmers or
                      fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
        Chapter 13 — Voluntary repayment plan
                                                                 debts are not discharged under the law.
                      for individuals with regular
                                                                 Therefore, you may still be responsible to pay:
                      income
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
 decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167    filing fee
 If your income is above the median for your                     +          $571    administrative fee
 state, you must file a second form —the                                  $1,738    total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If



 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
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Read These Important Warnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200   filing fee                                    future earnings. If the court approves your
 +           $78   administrative fee                            plan, the court will allow you to repay your
            $278   total fee
                                                                 debts, as adjusted by the plan, within 3 years or
                                                                 5 years, depending on your income and other
 Similar to chapter 13, chapter 12 permits
                                                                 factors.
 family farmers and fishermen to repay their
 debts over a period of time using future                        After you make all the payments under your
 earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
 not paid.                                                       debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
                                                                     most student loans,
             individuals with regular
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
           $235    filing fee                                        debts for fraud or defalcation while acting
 +          $78    administrative fee                                 in a fiduciary capacity,
           $313    total fee
                                                                     most criminal fines and restitution
                                                                      obligations,
 Chapter 13 is for individuals who have regular
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
 and to discharge some debts that are not paid.                      certain debts for acts that caused death or
 You are eligible for chapter 13 only if your                         personal injury, and
 debts are not more than certain dollar amounts                      certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                 A married couple may file a bankruptcy case
     Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                 forms/bankruptcy/credit-counseling-and-debtor-
 Make sure the court has your                                    education-courses.
 mailing address                                                 In Alabama and North Carolina, go to:
 The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
 mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
 for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
 Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
 information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
 Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
 any changes in your address.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 4
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                 IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
              SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION PREPARER


        If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to
represent you, or you can get help in some localities from a bankruptcy petition preparer who is not an
attorney. THE LAW REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION PREPARER TO GIVE
YOU A WRITTEN CONTRACT SPECIFYING WHAT THE ATTORNEY OR BANKRUPTCY PETITION
PREPARER WILL DO FOR YOU AND HOW MUCH IT WILL COST. Ask to see the contract before you
hire anyone.

         The following information helps you understand what must be done in a routine bankruptcy case
to help you evaluate how much service you need. Although bankruptcy can be complex, many cases are
routine.

         Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for
different forms of debt relief available under the Bankruptcy Code and which form of relief is most likely to
be beneficial for you. Be sure you understand the relief you can obtain and its limitations. To file a
bankruptcy case, documents called a Petition, Schedules and Statement of Financial Affairs, as well as in
some cases a Statement of Intention need to be prepared correctly and filed with the bankruptcy court.
You will have to pay a filing fee to the bankruptcy court. Once your case starts, you will have to attend the
required first meeting of creditors where you may be questioned by a court official called a "trustee" and
by creditors.

       If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You
may want help deciding whether to do so. A creditor is not permitted to coerce you into reaffirming your
debts.

         If you choose to file a chapter 13 case in which you repay your creditors what you can afford over
3 to 5 years, you may also want help with preparing your chapter 13 plan and with the confirmation
hearing on your plan which will be before a bankruptcy judge.

         If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13,
you will want to find out what should be done from someone familiar with that type of relief.

        Your bankruptcy case may also involve litigation. You are generally permitted to represent
yourself in litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers, can give
you legal advice.


      07/26/2024                                        /s/ Patricia H Krzywonos
                                                        Patricia H Krzywonos




                                                        /s/ Theodore M. Liddell
                                                        Theodore M. Liddell
               Case 24-17435-ABA                Doc 1        Filed 07/26/24 Entered 07/26/24 17:21:21                                                                                    Desc Main
 Fill in this information to identify your case:            Document Page 74 of 77

 Debtor 1            Patricia H Krzywonos
                    ________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name

                                           New Jersey
   United States Bankruptcy Court for the:__________________________________

 Case number
  (If known)
                     ___________________________________________                                                                                                                                    Check if this is an
                                                                                                                                                                                                           amended filing




Official Form 103B
Applic at ion t o H ave t he Cha pt e r 7 Filing Fe e Wa ive d                                                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known).

 Pa rt 1 :          T e ll t he Court About Y our Fa m ily a nd Your Fa m ily’s Inc om e



1. What is the size of your family?               Check all that apply:
    Your family includes you, your
    spouse, and any dependents listed             You
                                                   ■


    on Schedule J: Your Expenses                  Your spouse
    (Official Form 106J).                                                     1                                                             2
                                                  Your dependents
                                                   ■
                                                                             ___________________                                           _____________________
                                                                             How many dependents?                                          Total number of people


2. Fill in your family’s average
    monthly income.                                                                                                                                                                   That person’s average
                                                                                                                                                                                      monthly net income
    Include your spouse’s income if                                                                                                                                                   (take-home pay)
    your spouse is living with you, even        Add your income and your spouse’s income. Include the
    if your spouse is not filing.               value (if known) of any non-cash governmental assistance                                                                                 1,489.57
                                                                                                                                           You ..................                       $_________________
                                                that you receive, such as food stamps (benefits under the
    Do not include your spouse’s                Supplemental Nutrition Assistance Program) or housing
    income if you are separated and             subsidies.
    your spouse is not filing with you.
                                                If you have already filled out Schedule I: Your Income, see                                Your spouse ...                    + $_________________
                                                                                                                                                                                 0.00
                                                line 10 of that schedule.

                                                                                                                                           Subtotal .............                        1,489.57
                                                                                                                                                                                        $_________________

                                                Subtract any non-cash governmental assistance that you
                                                included above.                                                                                                               – $_________________
                                                                                                                                                                                 139.21

                                                Your family’s average monthly net income                                                   Total .................                       1,350.36
                                                                                                                                                                                        $_________________



                                                                                  Type of assistance
3. Do you receive non-cash                        No
    governmental assistance?                                                 Debtor currently receives the following non-cash governmental
                                                  Yes. Describe. ..........
                                                   ■

                                                                              assistance: (1) NJ SNAP Food Stamp Program and (2) NJ
                                                                              Universal Service Fund (USF) Program for Electric Bill

4. Do you expect your family’s                    No
    average monthly net income to
    increase or decrease by more than
                                                  Yes. Explain. ............. Annual changes (increases or decreases in income) that may
                                                   ■

                                                                              occur for the Debtor consists of Non-Employment Income
    10% during the next 6 months?
                                                                              which currently includes: (1) NJ SNAP (monetary assistance
                                                                              for food), (2) Electric bill assistance (from NJ United Service
                                                                              Debtor does not have the additional income to pay the bankruptcy filing fee upfront or in installment payments due to extreme economic stress and financial
5. Tell the court why you are unable to pay the filing fee in                 struggle. Debtor passed the Means test with no presumption of abuse. From December 10, 2023 through July 13, 2024 (the previous full 6 months), Debtor
                                                                              has been unemployed and has not received any Employment income. Debtor has only received Non-Employment Income during this time period. Debtor
    installments within 120 days. If you have some additional                 has been very recently employed (as of July 14, 2024) and currently lives in an apartment with her adult son. Aside from NJ Unemployment compensation
                                                                              (prior 6 month average of $2,047.67 which Debtor started receiving on 1/23/2024 and ended on 6/27/2024), NJ SNAP benefits (prior 6 month average of
    circumstances that cause you to not be able to pay your filing            $111.83 which Debtor started receiving on 12/19/2023 and still continues), and NJ Universal Service Fund Electric Bill benefits (prior 6 month average of
                                                                              $27.38 which Debtor started receiving on 4/3/2024 and still continues), Debtor relies on Household Contributions paid voluntarily by her adult son (prior 6
    fee in installments, explain them.                                        month average of $1,064.00 which may or may not continue). The total of these amounts is $3,250.88 - which is Debtor's current Means test median
                                                                              amount. In spite of current medical issues, Debtor started working a 20-hour work week (part time) at Brotherly Bud in Mt. Ephraim, NJ on July 14, 2024.




Official Form 103B                                           Application to Have the Chapter 7 Filing Fee Waived                                                                                                      page 1
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Debtor 1        Patricia H Krzywonos                 Document Page 75 of Case
               _______________________________________________________   77 number (if known) _____________________________________
               First Name    Middle Name         Last Name


 Pa rt 2 :     T e ll t he Court About Y our Monthly Ex pe nse s

6. Estimate your average monthly expenses.
    Include amounts paid by any government assistance that you            3,232.67
                                                                         $___________________
    reported on line 2.
    If you have already filled out Schedule J, Your Expenses, copy
    line 22 from that form.

7. Do these expenses cover anyone            No
                                             ■

    who is not included in your family
    as reported in line 1?
                                             Yes. Identify who ........

8. Does anyone other than you
    regularly pay any of these               No
    expenses?                                Yes. How much do you regularly receive as contributions? $_________
                                             ■                                                          1,064.00 monthly
    If you have already filled out
    Schedule I: Your Income, copy the
    total from line 11.

9. Do you expect your average                No
    monthly expenses to increase or
    decrease by more than 10% during
                                             Yes. Explain ............... Cost of living expenses for gas for automobile and food prices
                                             ■

                                                                           have been increasing, Xfinity internet cost will likely increase,
    the next 6 months?
                                                                           Universal Service Fund Benefit for electric bill (PSEG) will
Pa rt 3 :      T e ll t he Court About Y our Prope rt y


 If you have already filled out Schedule A/B: Property (Official Form 106A/B) attach copies to this application and go to Part 4.


10. How much cash do you have?
    Examples: Money you have in
    your wallet, in your home, and on       Cash:                       $_________________
    hand when you file this application

11. Bank accounts and other deposits                                    Institution name:                                     Amount:
    of money?
    Examples: Checking, savings,            Checking account:           __________________________________________________   $__________________
    money market, or other financial
    accounts; certificates of deposit;      Savings account:            __________________________________________________   $__________________
    shares in banks, credit unions,
    brokerage houses, and other             Other financial accounts:   __________________________________________________   $__________________
    similar institutions. If you have
    more than one account with the                                                                                           $__________________
    same institution, list each. Do not     Other financial accounts:   __________________________________________________
    include 401(k) and IRA accounts.

12. Your home? (if you own it outright or
                                            _______________________________________________________
    are purchasing it)                      Number   Street                                                Current value:    $_________________
    Examples: House, condominium,           _______________________________________________________        Amount you owe
    manufactured home, or mobile home       City                           State         ZIP Code          on mortgage and   $_________________
                                                                                                           liens:

13. Other real estate?
                                            _______________________________________________________        Current value:    $_________________
                                            Number   Street
                                                                                                           Amount you owe
                                            _______________________________________________________        on mortgage and   $_________________
                                            City                           State         ZIP Code          liens:

14. The vehicles you own?                   Make:        _____________________
                                                                                                           Current value:    $_________________
    Examples: Cars, vans, trucks,           Model:       _____________________
    sports utility vehicles, motorcycles,   Year:        ____________                                      Amount you owe
    tractors, boats                                                                                        on liens:         $_________________
                                            Mileage      _____________________

                                            Make:        _____________________
                                            Model:       _____________________                             Current value:    $_________________
                                            Year:        ____________
                                                                                                           Amount you owe
                                            Mileage      _____________________                             on liens:         $_________________




  Official Form 103B                                         Application to Have the Chapter 7 Filing Fee Waived                         page 2
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Debtor 1        Patricia H Krzywonos                 Document Page 76 of Case
               _______________________________________________________   77 number (if known) _____________________________________
               First Name    Middle Name        Last Name



15. Other assets?                          Describe the other assets:
                                                                                                           Current value:     $_________________
    Do not include household items                                                                                             $_________________
    and clothing.                                                                                          Amount you owe
                                                                                                           on liens:



16. Money or property due you?             Who owes you the money or property?               How much is owed? Do you believe you will likely receive
                                                                                                               payment in the next 180 days?
    Examples: Tax refunds, past due
    or lump sum alimony, spousal           ___________________________________________       $_________________        No
    support, child support,                                                                  $_________________
    maintenance, divorce or property
                                           ___________________________________________                                 Yes. Explain:
    settlements, Social Security
    benefits, workers’ compensation,
    personal injury recovery



 Pa rt 4 :     Answ e r T he se Addit iona l Que st ions


 17. Have you paid anyone for               No
                                            ■

     services for this case, including                                                                                        How much did you pay?
     filling out this application, the
                                            Yes. Whom did you pay? Check all that apply:
     bankruptcy filing package, or the             An attorney
     schedules?                                                                                                               $______________________
                                                   A bankruptcy petition preparer, paralegal, or typing service
                                                   Someone else ________________________________________
 18. Have you promised to pay or do         No
                                            ■

     you expect to pay someone for
     services for your bankruptcy
                                            Yes. Whom do you expect to pay? Check all that apply:                            How much do you
     case?                                         An attorney                                                               expect to pay?
                                                   A bankruptcy petition preparer, paralegal, or typing service
                                                                                                                              $_______________________
                                                   Someone else _________________________________________

 19. Has anyone paid someone on             No
                                            ■

     your behalf for services for this
     case?
                                            Yes. Who was paid on your behalf?                Who paid?                       How much did
                                                        Check all that apply:                 Check all that apply:           someone else pay?

                                                         An attorney                          Parent
                                                                                                                              $______________________
                                                         A bankruptcy petition preparer,      Brother or sister
                                                            paralegal, or typing service       Friend
                                                         Someone else _________________       Pastor or clergy
                                                                                               Someone else __________

 20. Have you filed for bankruptcy          No
                                            ■

     within the last 8 years?
                                            Yes. District _____________________________ When _____________ Case number _____________________
                                                                                                   MM/ DD/ YYYY

                                                        District _____________________________ When _____________ Case number _____________________
                                                                                                    MM/ DD/ YYYY

                                                        District _____________________________ When _____________ Case number _____________________
                                                                                                    MM/ DD/ YYYY

 Pa rt 5 :     Sign Be low

  By signing here under penalty of perjury, I declare that I cannot afford to pay the filing fee either in full or in installments. I also declare
  that the information I provided in this application is true and correct.


 _____________________________________________
   /s/ Patricia H Krzywonos                     _____________________________________________
     Signature of Debtor 1                                   Signature of Debtor 2

           07/26/2024
     Date __________________                                 Date __________________
          MM / DD / YYYY                                          MM / DD / YYYY




  Official Form 103B                                        Application to Have the Chapter 7 Filing Fee Waived                             page 3
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                                                                 Document Page 77 of 77
 Fill in this information to identify the case:

 Debtor 1            Patricia H Krzywonos
                    ________________________________________________________________
                     First Name                    Middle Name          Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                    Middle Name          Last Name

                                              New Jersey                            NJ
 United States Bankruptcy Court for the: _________________________ District of __________
                                                                                     (State)

 Case number         _____________________________________________
  (If known)




Orde r on t he Applic a t ion t o H a ve t he Cha pt e r 7 Filing Fe e Wa ive d

After considering the debtor’s Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B), the court
orders that the application is:

[ ] Granted. However, the court may order the debtor to pay the fee in the future if developments in
             administering the bankruptcy case show that the waiver was unwarranted.

[ ] Denied. The debtor must pay the filing fee according to the following terms:


                                          You must pay…             On or before this date…


                                                                     _____________
                                          $_____________             Month / day / year

                                          $_____________             _____________
                                                                     Month / day / year

                                          $_____________             _____________
                                                                     Month / day / year

                                      + $_____________               _____________
                                                                     Month / day / year
                         Total


                       If the debtor would like to propose a different payment timetable, the debtor must file a
                       motion promptly with a payment proposal. The debtor may use Application for Individuals to
                       Pay the Filing Fee in Installments (Official Form 103A) for this purpose. The court will
                       consider it.

                       The debtor must pay the entire filing fee before making any more payments or transferring any
                       more property to an attorney, bankruptcy petition preparer, or anyone else in connection with the
                       bankruptcy case. The debtor must also pay the entire filing fee to receive a discharge. If the
                       debtor does not make any payment when it is due, the bankruptcy case may be dismissed and
                       the debtor’s rights in future bankruptcy cases may be affected.

[ ] Scheduled for hearing.

                       A hearing to consider the debtor’s application will be held

                        on _____________ at _________ AM / PM at _________________________________________.
                              Month / day / year                                       Address of courthouse


                       If the debtor does not appear at this hearing, the court may deny the application.

                       _____________                                 By the court: _____________________________________
                       Month / day / year                                                 United States Bankruptcy Judge
